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               IN THE UNITED STATES COURT OF APPEALS
                        FOR THE FIFTH CIRCUIT


SUSQUEHANNA NUCLEAR, LLC,                                  No. 25-60264 (consolidated with 25-
                                                           60019)

                                                           FERC Orders Under Review:
                          Petitioner,
                                                   Order Rejecting Amendments to
                                                   Interconnection Service Agreement,
                                                   PJM      Interconnection,   L.L.C.,
   v.                                           __ Docket Nos. ER24-2172-000 and
                                                  ______




                                                   ER24-2172-001, 189 FERC ¶ 61,078
                                                   (Nov. 1, 2024)

FEDERAL ENERGY                                     Notice of Denial of Rehearing by
REGULATORY COMMISSION,                          __Operation of Law and Providing for
                                                __ Further Consideration, PJM Inter-
                                                  _______




                                                   connection, L.L.C., Docket No.
                       Respondent.                 ER24-2172-002, 189 FERC ¶ 62,132
                                                   (Dec. 23, 2024)

                                                           Order Addressing Arguments on
                                                           Rehearing        and        Granting
                                                           Clarification,   In    Part,   PJM
                                                           Interconnection, L.L.C., Docket No.
                                                           ER24-2172-002, 191 FERC ¶ 61,025
                                                           (Apr. 10, 2025)



                DOCKETING STATEMENT OF PETITIONER
                    SUSQUEHANNA NUCLEAR, LLC

        Pursuant to Fifth Circuit Rule 15.3.4, Petitioner Susquehanna Nuclear, LLC

(“Susquehanna”) hereby files this Docketing Statement relating to its May 12, 2025



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Petition for Review of orders issued by the Federal Energy Regulatory Commission

(“FERC”) in Docket Nos. ER24-2172-000, ER24-2172-001, and ER24-2172-0002.

      A.       List of Issues to Be Raised in the Review.

      Susquehanna plans to seek review of the following issues:

      1.       Whether FERC’s rejection of the amended Interconnection Service
               Agreement at issue in this proceeding (the “Amended ISA”) was
               arbitrary, capricious, or otherwise not in accordance with law because
               FERC failed to provide a reasoned explanation for its determination.
      2.       Whether FERC’s rejection of the Amended ISA was arbitrary,
               capricious, or otherwise not in accordance with law because FERC
               failed to consider or meaningfully address the bulk of the record
               evidence or otherwise failed to address important considerations
               bearing on its decision.

      3.       Whether FERC’s rejection of the Amended ISA was arbitrary,
               capricious, or otherwise not in accordance with law because FERC
               failed to apply the proper legal standard, or otherwise acted in excess
               of its authority, when making its decision.
      4.       Whether FERC’s rejection of the Amended ISA was arbitrary,
               capricious, or otherwise not in accordance with law because FERC
               departed from prior agency practice and precedent without reasoned
               explanation or acknowledgement.
      Petitioner reserves the right to modify or supplement this list of issues, as

appropriate.

      B.       List of Pending Review Proceedings.

      Before filing its petition for review in this case, Susquehanna filed another

petition in this Court with respect to FERC’s November 1, 2024 and December 23,




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2024 orders. That petition was docketed in case number 25-60019, which has been

consolidated with this case.

      C.     Statement Regarding Attachment of Orders to Be Reviewed.

      The orders for which review is sought are attached hereto as Attachment 1.




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Date: June 4, 2025                   Respectfully submitted,

                                     /s/ Jeremy C. Marwell

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                         CERTIFICATE OF SERVICE

      Pursuant to Rule 25 of the Federal Rules of Appellate Procedure, I hereby

certify that, on June 4, 2025, I electronically filed the foregoing document with the

Clerk of the Court for the U.S. Court of Appeals for the Fifth Circuit using the

appellate CM/ECF system, and served copies of the foregoing via the Court’s

CM/ECF system on all ECF-registered counsel.




Date: June 4, 2025                     /s/ Jeremy C. Marwell

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                 Attachment 1
            Copies of the Orders to Be Reviewed




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                                      189 FERC ¶ 61,078
                                 UNITED STATES OF AMERICA
                          FEDERAL ENERGY REGULATORY COMMISSION

        Before Commissioners: Willie L. Phillips, Chairman;
                              Mark C. Christie and Lindsay S. See

        PJM Interconnection, L.L.C.                                Docket Nos. ER24-2172-000
                                                                               ER24-2172-001

             ORDER REJECTING AMENDMENTS TO INTERCONNECTION SERVICE
                                  AGREEMENT

                                       (Issued November 1, 2024)

                On June 3, 2024, as amended on September 3, 2024, pursuant to section 205 of
        the Federal Power Act (FPA),1 PJM Interconnection, L.L.C. (PJM) filed an amended
        Interconnection Service Agreement (ISA) among PJM, Susquehanna Nuclear, LLC
        (Susquehanna or Interconnection Customer), and PPL Electric Utilities Corporation
        (PPL or Interconnected Transmission Owner) (Amended ISA).2 The Amended ISA
        modifies Service Agreement No. 1442 (Existing ISA) to increase the amount of
        Co-Located Load from 300 megawatts (MW) to 480 MW and to make revisions related
        to the treatment of this Co-Located Load.3 In this order, we reject the Amended ISA.




              1
                  18 U.S.C. § 824d.
              2
                PJM Interconnection, L.L.C., PJM Service Agreements Tariff, PJM SA
        No. 1442, (PJM SA No. 1442 among PJM, Susquehanna Nuclear, and PPL EU) (6.1.0)
        (Amended ISA). Because the filing submitted in Docket No. ER24-2172-000 was
        overtaken by the filing submitted in Docket No. ER24-2172-001, the filing in Docket
        No. ER24-2172-000 is rejected as moot.
              3
                 PJM Transmittal at 5. PJM states that when capitalized in the transmittal and
        in the Amended ISA, the term Co-Located Load has the meaning set forth in the
        Amended ISA, Specifications section 1.0(d). Id. at 2 n.3. PJM states that, when not
        capitalized, the term co-located load generally refers to end-use customer load that is
        physically connected to the facilities of an existing or planned customer facility on the
        Interconnection Customer’s side of the Point of Interconnection to the PJM transmission
        system. Id. at 5 n.11. We will use the same naming convention here. Other capitalized
        terms that are not defined in this order have the meaning specified in the PJM tariff.
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        Docket Nos. ER24-2172-000 and ER24-2172-001                                          -2-

        I.    Background

              A.       Order No. 2003

                In Order No. 2003, the Commission required all public utilities that own, control,
        or operate facilities used for transmitting electric energy in interstate commerce to have
        on file standard procedures and a standard agreement for interconnecting generating
        facilities larger than 20 MW.4 The Commission stated that standard interconnection
        procedures and a standard agreement would limit opportunities for transmission providers
        to favor their own generation, facilitate market entry for generation competitors by
        reducing interconnection cost and time, and encourage needed investment in generator
        and transmission infrastructure.5 Order No. 2003 requires interconnection agreements
        that do not conform to the transmission provider’s pro forma interconnection agreement
        to be filed with the Commission, and the transmission provider is required to explain its
        justification for each non-conforming provision.6 The Commission has recognized that
        there would be a small number of extraordinary interconnections that would call for the
        filing of a non-conforming interconnection agreement.7 The Commission has explained
        that non-conforming agreements may be permissible for interconnections with specific




              4
                Standardization of Generator Interconnection Agreements & Procs., Order
        No. 2003, 68 FR 49846 (Aug. 19, 2003), 104 FERC ¶ 61,103, at P 1 (2003), order on
        reh’g, Order No. 2003-A, 106 FERC ¶ 61,220, order on reh’g, Order No. 2003-B,
        109 FERC ¶ 61,287 (2004), order on reh’g, Order No. 2003-C, 111 FERC ¶ 61,401
        (2005), aff’d sub nom. Nat’l Ass’n of Regul. Util. Comm’rs v. FERC, 475 F.3d 1277
        (D.C. Cir. 2007); see also PJM Interconnection, L.L.C., 111 FERC ¶ 61,163, at P 9
        (2005) (“use of pro forma documents ensures that Interconnection Customers … are
        receiving non-discriminatory service and that all Interconnection Customers are treated
        on a consistent and fair basis”).
              5
                  Id. P 12.
              6
                 Order No. 2003-B, 109 FERC ¶ 61,287 at P 140 (“each Transmission Provider
        submitting a non-conforming agreement for Commission approval must explain its
        justification for each nonconforming provision”); see also PJM Interconnection, L.L.C.,
        186 FERC ¶ 61,160, at P 85 (2024).
              7
               Midcontinent Indep. Sys. Operator, Inc., 177 FERC ¶ 61,233, at P 26 (2021);
        PJM Interconnection, L.L.C., 111 FERC ¶ 61,163 at P 10 (citing Order No. 2003,
        104 FERC ¶ 61,103 at PP 913-15; Order No. 2003-B, 109 FERC ¶ 61,287 at P 140).
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        reliability concerns, novel legal issues, or other unique factors.8 A “transmission
        provider seeking a case-specific deviation from its pro forma interconnection agreement
        bears a high burden to justify and explain that its changes are not merely ‘consistent with
        or superior to’ the pro forma agreement, but are necessary changes.”9

               B.       PJM Rules for Transmission Service

               PJM’s tariff, like the pro forma Open Access Transmission Tariff (OATT),
        provides for two types of transmission service: (1) Point-to-Point Transmission Service,
        and (2) Network Integration Transmission Service.10 Network Integration Transmission
        Service (NITS) is a “transmission service that allows Network Customers to efficiently
        and economically utilize their Network Resources (as well as other non-designated
        generation resources) to serve their Network Load located in the PJM Region.”11 The
        Network Customer designates both the Network Resources and the Network Loads
        for NITS.12 PJM is required to include the Network Customer’s Network Load in
        transmission system planning, and transmission owners shall “endeavor to construct
        and place into service sufficient transfer capability to deliver the Network Customer’s

               8
                See, e.g., Midcontinent Indep. Sys. Operator, Inc., 182 FERC ¶ 61,179, at P 15
        (2023); Sw. Power Pool, Inc., 133 FERC ¶ 61,084, at P 6 (2010); Sw. Power Pool, Inc.,
        132 FERC ¶ 61,062, at P 3 (2010); Midwest Indep. Transmission Sys. Operator, Inc.,
        131 FERC ¶ 61,199, at P 5 (2010).
               9
                 See, e.g., Midwest Indep. Transmission Sys. Operator, Inc., 187 FERC ¶ 61,182,
        at P 9 (2024); Renewable World Energies, LLC, 176 FERC ¶ 61,140, at P 20 (2021); Sw.
        Power Pool, Inc., 133 FERC ¶ 61,084 at P 6; Sw. Power Pool, Inc., 132 FERC ¶ 61,062
        at P 3; PJM Interconnection, L.L.C., 111 FERC ¶ 61,163 at P 18.
               10
                  See PJM, Intra-PJM Tariffs, OATT, § II (Point-to-Point Transmission Service)
        (2.0.0); id. § III (Network Integration Transmission Service) (3.1.0). The definitions
        concerning PJM’s rules for Network Integration Transmission Service and Point-to-Point
        Transmission Service are incorporated into PJM’s pro forma interconnection service
        agreement in Appendix 1. Id., § III, attach. O, app. 1 (Definitions) (0.0.0).
               11
                    Id. § 28.1 (Scope of Service) (1.0.0).
               12
                  Id. § 30.1 (Designation of Network Resources) (0.0.0); id. § 31.1 (Network
        Load) (0.0.0); id. Definitions (L – M – N) (46.0.0) (definitions of “Network Load” and
        “Network Resource”). Section 31.1 of the PJM tariff requires that a Network Customer
        “designate the individual Network Loads on whose behalf [PJM] will provide Network
        Integration Transmission Service.” A Network Resource is any generating resource
        owned, purchased, or leased by a Network Customer, or subject to a firm power sales
        agreement with a Network Customer, and designated to serve Network Load.
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         Network Resources to serve its Network Load.”13 Network Load includes all load, retail
         and wholesale, served by the output of any Network Resource designated by the Network
         Customer.14 The Network Customer’s NITS charge is based on the sum of the Network
         Customer’s individual wholesale and retail customer Network Loads at the time of the
         annual peak of the zone in which the load is located.15

                As an alternative to NITS, load may take Point-to-Point Transmission Service.16
         Point-to-Point Transmission Service is “the reservation and transmission of capacity and
         energy on either a firm or non-firm basis from the Point(s) of Receipt to the Point(s) of
         Delivery.”17

                C.       Previous Filings

                 The Amended ISA concerns Susquehanna’s 2,520 MW nuclear generating
         facility located in Luzerne County, Pennsylvania, which consists of two 1,260 MW units
         interconnected to the PJM transmission system (Customer Facility). PJM filed, and the
         Commission accepted, the first ISA for Susquehanna and PPL in 2015.18

                13
                     Id. § 28.2 (Transmission Provider Responsibilities) (1.0.0).
                14
                     Id. Definitions (L - M – N) (46.0.0); see id. § 31.1 (Network Load) (0.0.0).
                15
                     Id. § 34.1 (Monthly Demand Charge) (1.0.0); see, e.g., id. § 31.1 (Network Load)
         (0.0.0).
                16
                  See id. § II (Point-to-Point Transmission Service) (2.0.0). See also
         Promoting Wholesale Competition Through Open Access Non-Discriminatory
         Transmission Servs. by Pub. Utils.; Recovery of Stranded Costs by Pub. Utils. &
         Transmitting Utils., Order No. 888, FERC Stats. & Regs. ¶ 31,036 (1996) (cross-
         referenced at 75 FERC ¶ 61,080), order on reh’g, Order No. 888-A, FERC Stats. &
         Regs. ¶ 31,048, at 30,260 (cross-referenced at 78 FERC ¶ 61,220), order on reh’g,
         Order No. 888-B, 81 FERC ¶ 61,248 (1997), order on reh’g, Order No. 888-C,
         82 FERC ¶ 61,046 (1998), aff’d in relevant part sub nom. Transmission Access Pol’y
         Study Grp. v. FERC, 225 F.3d 667 (D.C. Cir. 2000), aff’d sub nom. N.Y. v. FERC,
         535 U.S. 1 (2002) (“The bottom line is that all potential transmission customers . . . must
         choose between network integration transmission service or point-to-point transmission
         service. Each of these services has its own advantages and risks.”).
                17
                     PJM, Intra-PJM Tariffs, OATT, Definitions (O - P - Q) (32.0.0).
                18
                  PJM Interconnection, L.L.C., Docket Nos. ER15-1562-000 and ER15-1562-001
         (June 16, 2015) (delegated order); PJM Interconnection, L.L.C., Docket No. ER15-2100-
         000 (Aug. 11, 2015) (delegated order).
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                On April 22, 2021, PJM filed a Necessary Studies Agreement by and between
         PJM and Susquehanna (Susquehanna NSA) in order to allow PJM to undertake and
         charge Susquehanna for the studies necessary to evaluate the impact to the transmission
         system of potential modifications to the Customer Facility.19 The Susquehanna NSA
         indicated that Susquehanna was planning to connect the nuclear generating units at the
         Customer Facility to large data center loads “Behind the Generator Meter” and behind the
         Customer Facility’s Point of Interconnection.20

                On February 3, 2023, PJM submitted an executed, uncontested amended ISA
         (2023 ISA) between PJM, Susquehanna, and PPL to reflect modifications to Schedule F,
         Schedule of Non-Standard Terms and Conditions, including changes to Susquehanna’s
         Capacity Interconnection Rights (CIR), to accommodate Susquehanna’s request to
         connect the Customer Facility to large data center loads “Behind the Generator Meter”
         and behind the Point of Interconnection.21 The 2023 ISA permitted Susquehanna to add
         up to 150 MW of co-located load behind each of Susquehanna’s two generating units and
         accordingly reduce its CIRs if it met certain requirements.22 The 2023 ISA required
         Susquehanna to install and operate the appropriate protections to ensure that no power
         flows from PPL’s transmission system to the Co-Located Load, and that the Co-Located
         Load separates in the event of a loss of on-site generation.23 On March 17, 2023, the
         2023 ISA was accepted via delegated letter order, to be effective on January 19, 2023.24

                On February 8, 2024, PJM submitted a further executed, uncontested amended
         ISA, the Existing ISA, to reflect a further reduction in the Customer Facility’s CIRs,
         specifically, a reduction of 148 MW at one generating unit as well as a performance-
         based reduction of CIRs of 13 MW for each generating unit.25 On May 10, 2024, the
         Existing ISA was accepted via delegated letter order, to be effective April 9, 2024.26

               19
                    PJM, Transmittal, Docket No. ER21-1728-000, at 1-2 (filed Apr. 22, 2021).
               20
                    PJM, Filing, Susquehanna NSA, Docket No. ER21-1728-000, at attach. #1.
               21
                    PJM, Transmittal, Docket No. ER23-1043-000, at 1 (filed Feb. 3, 2023).
               22
                    PJM, Filing, Docket No. ER23-1043-000, attach. A, Schedule F.
               23
                    Id.
               24
                  PJM Interconnection, L.L.C., Docket No. ER23-1043-000 (Mar. 17, 2023)
         (delegated order).
               25
                    PJM, Transmittal, Docket No. ER24-1215-000, at 5 (filed Feb. 8, 2024).
               26
                  PJM Interconnection, L.L.C., Docket No. ER24-1215-001 (May 10, 2024)
         (delegated order).
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         II.   Filing

                  PJM states that the Amended ISA reflects substantial revisions to address
         issues related to the treatment of the Co-Located Load, including additional markets,
         operational, planning, and other terms and conditions.27 PJM states that the proposed
         non-conforming provisions are necessary to support reliable system operations and
         clarify expectations for conduct, as well as clarify rights and obligations.28

                 PJM states that it has determined that the Interconnection Customer may transfer
         up to 480 MW of power to the transmission facilities of the Co-Located Load without a
         material impact on the transmission system.29 PJM explains that this amount of power
         includes the previously authorized 300 MW. PJM states that it has determined that any
         load addition in excess of 480 MW would result in generation deliverability violations
         and require installation of system upgrades. PJM also notes that the Amended ISA
         explains that Susquehanna has proposed modifications to allow it to physically transfer
         960 MW30 of power to the Co-Located Load’s transmission facility, but it can only do so
         after the generation deliverability violations are eliminated or otherwise resolved.31

                 PJM states that the Amended ISA includes provisions regarding Susquehanna’s
         obligations as a Generation Capacity Resource32 and contains a new section addressing
         use of a back-up unit at the Customer Facility to transfer power to the transmission
         facilities of the Co-Located Load. PJM explains that the back-up unit is a Generation
         Capacity Resource and there are conditions where Susquehanna must obtain replacement

               27
                    PJM Transmittal at 5.
               28
                    Id. at 13-14.
               29
                    Id. at 4.
               30
                   Specifications, Section 2.0 (Rights) under the Amended ISA specifies that
         “For Unit # 1: Pursuant to and subject to the applicable terms of the Tariff, the
         Interconnection Customer shall have Capacity Interconnection Rights at the Point(s) of
         Interconnection specified in this Interconnection Service Agreement in the amount of
         1099.0 MW (which reflects a 13 MW performance derate and a 148 MW addition of the
         Co-Located Load). For Unit # 2: Pursuant to and subject to the applicable terms of the
         Tariff, the Interconnection Customer shall have Capacity Interconnection Rights at the
         Point(s) of Interconnection specified in this Interconnection Service Agreement in the
         amount of 1247.0 MW (which reflects a 13 MW performance derate).”
               31
                    PJM Transmittal at 5-6.
               32
                    Id. at 6-8.
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         capacity before transferring power from the back-up unit to the transmission facilities of
         the Co-Located Load.

                 PJM states that the Amended ISA explains that it is not permissible to install
         special protections systems or remedial action schemes, relaying, automated systems, or
         any other equipment that could activate upon the loss of a primary generating unit at the
         Customer Facility such that the back-up unit could automatically begin to physically
         transfer power to the transmission facilities of the Co-Located Load.33 PJM explains
         that the Amended ISA specifies that coordination with PJM and PPL, and advanced
         authorization from PJM, is required for both unplanned and planned outages before a
         back-up unit can physically transfer power to the transmission facilities of the Co-Located
         Load. PJM elaborates that the Amended ISA includes steps that need to be taken before
         Susquehanna can use a back-up generating unit, as well as limitations on the use of such
         back-up generating units.

                 PJM notes that the Amended ISA contains revisions addressing system protection
         facilities with respect to the separation of the Co-Located Load in the event of a loss
         of generation output.34 Specifically, PJM explains that the Amended ISA states that
         Susquehanna has installed a protection scheme to ensure the Co-Located Load separates
         if there is a loss of generation output from the Customer Facility to ensure no power
         flows from the Interconnection Transmission Owner’s facilities to the Co-Located
         Load.35 PJM states that this provision “reflects an important effort to minimize” the
         potential for an unauthorized taking of power from the PJM transmission system.36 PJM
         explains that the Amended ISA contains other provisions to support reliable operations,
         including that Susquehanna will provide generator shutdown and automatic tripping data
         to PPL and PJM upon request.

                 PJM states that the Amended ISA also includes other terms and conditions,
         including language specifying that Co-Located Load is not Station Power Load or
         Network Load.37 PJM explains that the Amended ISA states that the Co-Located Load
         is not intended to consume capacity and/or energy from the PJM transmission system.38

                33
                     Id. at 9.
                34
                     Id.
                35
                     Id. at 9-10.
                36
                     Id. at 10.
                37
                     Id. at 10-11.
                38
                     Id. at 11.
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         But, PJM states that the Amended ISA also identifies potential steps if power flows
         from the PJM transmission system and PPL facilities to the transmission facilities of the
         Co-Located Load. PJM states that the Amended ISA is subject to revision, including
         PJM’s right to assess in a non-discriminatory manner additional rates, terms, or
         conditions, which may include transmission or ancillary service charges.39

                 PJM also states that it makes additional changes, including to (1) Schedule B to
         reflect the current configuration and the placement of necessary real-time and revenue
         metering specific to the Co-Located Load to facilitate operational and settlement needs
         and (2) Schedule C to reflect the metering requirements applicable to the Co-Located
         Load for these same purposes.40

                 PJM contends that there are many case-specific considerations regarding co-located
         load configurations—including the “type of generator, the capacity factor of the generation,
         the nature of the load, the potential for back-up supply, the location of the load and related
         facilities, etc.”41 PJM stresses that what is necessary in one ISA may not be necessary in
         another.42 PJM requests an effective date of August 3, 2024.

         III.   Notice and Responsive Pleadings

                Notice of the filing was published in the Federal Register, 89 Fed. Reg. 48,606
         (June 7, 2024), with interventions and protests due on or before June 24, 2024.
         Talen Energy Corporation and Susquehanna, PPL, American Electric Power Service
         Corporation (AEP), on behalf of its affiliates Appalachian Power Company, Indiana
         Michigan Power Company, Kentucky Power Company, Kingsport Power Company,
         Ohio Power Company, Wheeling Power Company, AEP Appalachian Transmission
         Company, Inc., AEP Indiana Michigan Transmission Company, Inc., AEP Kentucky
         Transmission Company, Inc., AEP Ohio Transmission Company, Inc., and AEP West
         Virginia Transmission Company, Inc., and AEP Energy Partners, Inc.; Exelon
         Corporation (Exelon), Dominion Energy Services, Inc., Vistra Corp. (Vistra), and

                39
                   Id. at 12 (referencing Amended ISA, Schedule F, Part F.8 (“The provisions
         in this Interconnection Service Agreement are subject to change in accordance with
         Section 22.3 of Appendix 2 to this Agreement pursuant to Section 205 and Section 206 of
         the Federal Power Act and/or FERC’s rules and regulations thereunder, including but not
         limited to PJM’s right to assess in a non-discriminatory manner additional rates, terms or
         conditions which may include transmission or ancillary services charges.”)).
                40
                     Id. at 14.
                41
                     Id. at 15-16.
                42
                     Id. at 16.
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         New Jersey Division of Rate Counsel each submitted a timely motion to intervene.
         New Jersey Board of Public Utilities and Pennsylvania Public Utility Commission
         (Pennsylvania Commission) each filed a notice of intervention.

                Public Service Electric and Gas Company, PSEG Power LLC and PSEG Energy
         Resources & Trade LLC, Constellation Energy Generation, LLC (Constellation),
         Monitoring Analytics, LLC, acting in its capacity as the Independent Market Monitor for
         PJM (Market Monitor), LS Power Development, LLC, Calpine Corporation (Calpine),
         Cordelio Services LLC, Southern Maryland Electric Cooperative, Inc. (SMECO),
         Electric Power Supply Association, Illinois Commerce Commission, Buckeye Power,
         Inc., AES Clean Energy Development, LLC, The Dayton Power and Light Company,
         Solar Energy Industries Association, Maryland Office of People’s Counsel, American
         Municipal Power, Inc., American Clean Power Association, Enchanted Rock, LLC,
         Lincoln Generating Facility, LLC and Crete Energy Venture, LLC, Fairless Energy,
         L.L.C., Organization of PJM States, Inc. (OPSI), NextEra Energy Resources, LLC,
         Amazon Energy LLC, Old Dominion Electric Cooperative (ODEC), Maryland Public
         Service Commission (Maryland Commission), Duquesne Light Company, The People of
         the State of Illinois, Allegheny Electric Cooperative, Inc., Xcel Energy Services, Inc.,
         WIRES, Duke Energy Corporation. on behalf of its affiliates, Duke Energy Ohio, Inc.,
         Duke Energy Kentucky, Inc., Duke Energy Indiana, LLC, Duke Energy Carolinas, LLC,
         and Duke Energy Progress, LLC, the West Virginia Public Service Commission,
         Advanced Energy Management Alliance, PacifiCorp, Rockland Electric Company,
         DC Energy, LLC, and Klondike Digital Infrastructure LLC (Klondike) each submitted
         a motion to intervene out-of-time. International Transmission Company d/b/a
         ITCTransmission, Michigan Electric Transmission Company, LLC, ITC Midwest LLC
         and ITC Great Plains, LLC (ITC Companies) submitted a motion to intervene out-of-time
         and comments.

                 Exelon and AEP filed a timely protest. On July 5, 2024, Susquehanna filed a
         motion for leave to answer and answer. On July 8, 2024, PJM filed a motion for leave
         to answer and answer. On July 10, 2024, Constellation and Vistra (together) and
         the Market Monitor each filed a motion for leave to answer and answer, and the
         Pennsylvania Commission filed an answer to the protest. On July 11, 2024, Calpine filed
         a motion for leave to answer and an answer. On July 12, 2024, ODEC and SMECO each
         filed a motion for leave to answer and answer. On July 15, 2024, PPL filed a motion for
         leave to answer and answer. On July 17, 2024, Exelon and AEP filed a motion for leave
         to answer and answer. On July 18, 2024, OPSI filed an answer to the protest. On July 22,
         2024, Susquehanna filed a motion for leave to answer and answer. On July 23, 2024,
         Constellation filed a motion for leave to answer and answer. On July 24, 2024, Exelon
         and AEP filed a motion for leave to answer and answer. On July 26, 2024, PacifiCorp
         filed an answer. On July 29, 2024, Vistra filed a motion for leave to answer and answer.
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                A.         Protest

                 Exelon and AEP argue that the Amended ISA must be set for hearing because
         it raises many factual questions.43 In the alternative, Exelon and AEP state that if the
         Commission declines to set this matter for hearing, it should reject the Amended ISA.44

                 Exelon and AEP assert that the Amended ISA has not been adequately
         supported.45 Exelon and AEP state that the transmittal includes virtually no support
         for why the non-conforming provisions are both “consistent with or superior to” the
         pro forma and “necessary.”46 Exelon and AEP also argue that the Amended ISA is the
         first of many similar non-conforming ISAs, but that if large quantities of load adopt
         similar agreements with co-located loads, load may be harmed.47 Exelon and AEP posit
         that the PJM capacity markets will suffer as capacity resources exit to serve load that uses
         and benefits from, but does not pay for, the system and that replacement capacity will
         take years to develop.48

                Exelon and AEP raise a number of concerns with the instant filing.49 Exelon and
         AEP note that the Amended ISA states that it is “intended” that the Co-Located Load
         will not draw power from PJM’s transmission system, but it is possible that it will. Thus,
         Exelon and AEP raise questions about what happens if the Co-Located Load does draw
         power from PJM’s transmission system.50 Exelon and AEP state that it is unclear what
         steps have been taken to ensure that any such withdrawal of power will be properly
         metered and accurately billed when it does occur, what the terms of that arrangement will
         be, who the parties to it are, and if costs are incurred as a result of the Co-Located Load
         continuing to operate, who is financially responsible.51 Exelon and AEP also ask, in the

                43
                     Exelon and AEP June 24, 2024 Protest at 1.
                44
                     Id. at 2.
                45
                     Id. at 13.
                46
                     Id. at 14.
                47
                     Id. at 3.
                48
                     Id.
                49
                     Id. at 5-12.
                50
                     Id. at 6 (quoting PJM Transmittal at 11).
                51
                     Id. at 8.
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         event of a fault, how exactly the Co-Located Load will “separate” from the configuration,
         including what facilities will be involved and whether the action will be performed
         automatically. Exelon and AEP note that a unit at the Customer Facility had an
         unplanned outage in November 2023, but apparently no load was dropped, suggesting
         reliance on the grid.52 Exelon and AEP argue that rates and terms for the withdrawal of
         power from the transmission system should be established before such an incident occurs
         again.53

                 Exelon and AEP also note that the Amended ISA appears to contemplate that
         back-up generation will be provided by the other Susquehanna unit and argue that any
         replacement capacity transaction would not be instantaneous and may or may not be
         practical.54 Further, Exelon and AEP contend that using a PJM capacity resource as a
         back-up resource is “by any fair assessment” relying on PJM resources.55 Exelon and
         AEP also state that the Amended ISA references the Co-Located Load’s “transmission
         facilities” and ask for more information regarding those transmission facilities, including
         whether these “transmission facilities” are truly transmission facilities at all and whether
         they are required to have an OATT on file.56

                 Additionally, Exelon and AEP question why a Co-Located Load that they assert
         is receiving benefits from the transmission system would not pay transmission rates.57
         Exelon and AEP state that the Commission has long resisted customers’ attempts to
         allocate only portions of their load to the transmission system or to evade transmission
         fees based on unique or intermittent usage of the transmission system.58 Exelon and AEP
         claim that the Co-Located Load will receive two types of benefits from the transmission
         system. First, Exelon and AEP argue that because the Co-Located Load receives power
         from Susquehanna, and Susquehanna receives power from the transmission system, the



                52
                     Id. at 7 (citing Weaver Aff. ¶ 25).
                53
                     Id. at 8.
                54
                     Id. at 7.
                55
                     Id. at 7-8.
                56
                     Id. at 11.
                57
                     Id. at 9.
                58
                Id. at 9 (citing Nat’l Railroad Passenger Corp. v. PPL Elec. Utils. Corp.,
         171 FERC ¶ 61,237, at PP 13-14 (2020) (Amtrak)).
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         Co-Located Load benefits from the transmission system.59 Exelon and AEP note that
         the nuclear power plants cannot operate without electricity and cannot be islanded from
         the system.60 Based on analysis by affiants Mr. Reed and Ms. Powers, Exelon and
         AEP contend that the cost shift arising from this arrangement could be as much as
         $140 million per year. Affiants stated that they calculated this figure based on a
         high-level analysis of the costs to serve up to Co-Located Load of 480 MW at a 98%
         load factor, using the PPL Electric Utilities LP-5 tariff rate and including the cost of
         transmission, distribution, PPL specific riders, certain services provided by PJM for
         which PPL incurs costs, and taxes.61

                 Second, Exelon and AEP argue that, even if the Co-Located Load does not
         consume power from the transmission system to meet its baseline needs, it still receives
         ancillary services and capacity from the PJM transmission system.62 Specifically, Exelon
         and AEP’s affiant, Mr. Weaver, asserts that the data center load will vary over time to
         some degree and, thus, require load following services.63 Mr. Weaver notes that nuclear
         generators typically do not provide load following services; thus, other generating
         units on the PJM transmission system must do so. Mr. Weaver also argues that the
         Amended ISA does not explain how the configuration will provide operating reserves
         (e.g., spinning and supplemental reserves) from the Susquehanna units.64 Additionally,
         Mr. Weaver states that PJM’s transmission system requires reactive support and black
         start resources. However, Mr. Weaver asserts the Susquehanna Customer Facility cannot
         provide black start services and cannot provide sufficient reactive support, thereby raising
         issues of (1) whether the Co-Located Load is relying on other generating units on the
         transmission system for black start, and (2) how adequate reactive support could be
         provided.65 Further, Exelon and AEP contend that, while the Amended ISA states that
         Susquehanna is going to reduce its CIRs by the total quantity of capacity consumed by
         the Co-Located Load, it says nothing about the capacity that will invariably be on



                59
                     Id. at 10.
                60
                     Id. at 9.
                61
                     Id. at 3 (citing Reed/Powers Aff. ¶ 16).
                62
                     Id. at 10.
                63
                     Weaver Aff. ¶ 16.
                64
                     Id. ¶ 17.
                65
                     Id. ¶¶ 18-19.
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         standby in the event that backup power is required.66 Exelon and AEP question whether
         that standby capacity is being offered into the market and whether “the [Amended ISA]
         allow[s] [Susquehanna] to recover twice, once for its capacity supply obligation, and
         again for the backup service it provides to the [C]o-[L]ocated [L]oad in the event of an
         outage.”67

                 Exelon and AEP contend that the Amended ISA introduces new terms and
         conditions, some of which alter the fundamental structure of the PJM tariff.68 Exelon
         and AEP aver that this is the first time that Co-Located Load has been declared “not
         Network Load.” Exelon and AEP state that under PJM’s tariff there are only two types
         of recognized load: (1) Network Load; and (2) load that must make its own arrangements
         for Point-To-Point Transmission Service.69 Additionally, Exelon and AEP assert that the
         Co-Located Load will be synchronized to PJM’s transmission system, and as such should
         be designated Network Load. Furthermore, Exelon and AEP assert that the Amended
         ISA violates PJM’s tariff as the tariff does not provide for a type of transmission service
         that is not Point-to-Point Transmission Service or NITS.70 Exelon and AEP assert that
         in Amtrak the Commission rejected the ad hoc creation of a third, alternative category
         of service for an individual customer as inconsistent with the PJM tariff.71 Similarly,
         Exelon and AEP contend that the structure of the PJM tariff envisions that all end-use
         load is associated with a responsible Load Serving Entity, but the Amended ISA does not
         identify such party.72

                Further, Exelon and AEP state that the previously accepted ISAs for this
         arrangement do not justify accepting this filing.73 Exelon and AEP note that the
         Amended ISA contains a number of significant new provisions and designations. Exelon
         and AEP state that the 2023 ISA and Existing ISA do not mention the Co-Located Load
         being “not Network Load” nor do they mention the “transmission facilities” owned by

                66
                     Exelon and AEP June 24, 2024 Protest at 10-11.
                67
                     Id. at 11.
                68
                     Id. at 4.
                69
                     Id. at 5.
                70
                     Id. at 22.
                71
                     Id. at 22-23 (citing Amtrak, 171 FERC ¶ 61,237 at PP 6–9).
                72
                     Id. at 12.
                73
                     Id. at 15.
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         the Co-Located Load.74 Exelon and AEP further state that these earlier ISAs do not
         contain any reference to the back-up generation, nor to the restriction on installing
         facilities that would automatically provide back-up generation if the primary source of
         power fails.75 Additionally, Exelon and AEP argue that the fact that the earlier ISAs
         were accepted by delegated letter order, without considering the questions raised here,
         does not support accepting this filing.

                 Exelon and AEP argue that, if the Commission does not find the preceding
         arguments persuasive, it should reject the filing as an end-run around the PJM stakeholder
         process and also a violation of section 205 of the FPA.76 Exelon and AEP state that after
         the stakeholder process failed to yield rules surrounding co-located load configurations,
         PJM issued a document providing guidance on co-located load.77 Exelon and AEP
         argue that PJM cannot establish new rules for co-location via a guidance document or a
         non-conforming ISA; such fundamental market changes require a tariff revision.78 Exelon
         and AEP contend that the instant filing appears to rely heavily on the PJM Guidance
         Document.79

               B.         Answers Supporting Filing

                PJM, PPL, Susquehanna, Calpine, and Constellation and Vistra filed answers
         urging the Commission to accept the filing.




               74
                    Id. at 15-16.
               75
                    Id. at 16.
               76
                    Id.
               77
                 Id. at 19-20 (citing PJM, Guidance on Co-Located Load, available at
         pjm-guidance-on-co-located-load.ashx (PJM Guidance Document); PJM, Co-Located
         Load Guidance, available at https://pjm.com/-/media/committees-groups/committees/
         mic/20240403-item-07---co-located-load-guidance.ashx (pjm.com)).
               78
                    Id. at 20, 21.
               79
                    Id. at 21.
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                  These parties argue that the scope of this proceeding is limited,80 that the
         protest raises a number of issues that are outside the scope and/or provide no basis for a
         hearing or deficiency letter,81 and that the proposed revisions in the Amended ISA are
         necessary.82 Susquehanna notes that any changes to PJM’s processes should occur in
         a FPA section 206 proceeding or be undertaken by PJM, not by Exelon and AEP or
         through this limited FPA section 205 proceeding.83 Several parties express concerns
         that, if the Commission does not accept the Amended ISA, it will frustrate commercial
         arrangements involving data center load growth.84 PPL stresses that rejecting the
         Amended ISA would leave PJM and PPL in an untenable position from a reliability
         standpoint.85 PPL explains that the Existing ISA has become unjust and unreasonable in
         PPL’s view.

                 Several parties emphasize several arguments in support of finding the proposed
         revisions to be necessary. PPL avers that a number of the provisions are necessary and
         reasonable to ensure an appropriate response if a nuclear unit at the station is offline and
         the load continues to operate.86 PPL elaborates that under the Existing ISA, should a
         generating unit trip offline, load previously invisible to PPL and the PJM transmission
         system, would appear with no notice and power could then flow from PPL’s transmission
         facilities to the behind-the-meter load through the offline plant’s facilities, putting


                80
                  Susquehanna July 5, 2024 Answer at 2; Constellation and Vistra Answer at 6-7;
         Calpine Answer at 2. PacifiCorp states that it does not take a position on the Amended
         ISA but requests that the Commission limit its decision solely to the Amended ISA to
         avoid unintentionally impacting other efforts to resolve emerging issues relating to data
         centers. PacifiCorp Answer at 2-3.
                81
                   Calpine Answer at 3; Susquehanna July 5, 2024 Answer at 8, 11; Constellation
         and Vistra Answer at 8-9; PPL July 15, 2024 Answer at 6. Though emphasizing that
         issues related to cost allocation and impact and/or reliance on the transmission system are
         generic issues not driven by the Amended ISA, PPL states that answering the questions
         raised by the protesters may require reconsideration of certain aspects of PJM’s
         behind-the-meter generation policy. PPL July 15, 2024 Answer at 6 & n.14.
                82
                     Constellation and Vistra Answer at 7.
                83
                     Susquehanna July 5, 2024 Answer at 12.
                84
                     Id. at 11; Constellation and Vistra Answer at 17; Calpine Answer at 1.
                85
                     PPL July 15, 2024 Answer at 5-6.
                86
                     Id. at 4-5.
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         reliability at risk.87 Several parties argue that the filing offers important clarity about
         roles, responsibilities, and expectations of conduct around the Co-Located Load.88
         Constellation and Vistra argue that, because the parties to the Amended ISA agree
         the pro forma agreement is not adequate for Susquehanna, a non-conforming ISA is
         necessary.89

                 Susquehanna contends that behind-the-meter simply means not on the network.90
         PJM also notes that the Co-Located Load in this proceeding has not been designated
         Network Load by any Network Customer.91 Susquehanna further contends that the rate
         treatment of the Co-Located Load has been the same since the first day of its operation
         and is not changed with this Amended ISA.92 Constellation and Vistra argue that the grid
         is not supplying service to the Co-Located Load and the Amended ISA has numerous
         provisions to ensure that the Co-Located Load does not take service from the grid.93
         Susquehanna claims that back-up power supply does not include taking power from the
         network. Susquehanna argues that the Co-Located Load, being behind-the-meter, is not
         a Network Customer and has no right to be served by the grid, nor is the retail service
         the behind-the-meter load takes subject to Commission jurisdiction. 94 Susquehanna
         contends that as long as the load is not using the grid for back-up power, which is spelled
         out in the Amended ISA, there is no speculation as to whether the network will be
         implicated. Susquehanna explains that an inadvertent draw on the network would
         constitute a breach of the Amended ISA.

                Constellation and Vistra contend that because the Co-Located Load receives no
         services from the grid, there is no cost shift. Constellation and Vistra further argue that
         PPL is not building any additional transmission to accommodate this arrangement, and



                87
                     Id. at 4.
                88
                     PJM Answer at 3; Calpine Answer at 2; Susquehanna July 22, 2024 Answer at 4.
                89
                     Constellation and Vistra Answer at 8.
                90
                     Susquehanna July 5, 2024 Answer at 9.
                91
                     PJM Answer at 4.
                92
                     Susquehanna July 22, 2024 Answer at 5.
                93
                     Constellation and Vistra Answer at 9-10 (citing Amended ISA, Schedule F, pt. E).
                94
                     Susquehanna July 5, 2024 Answer at 9.
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         thus PPL’s customers’ costs are not changing.95 Constellation and Vistra next
         assert that no nuclear unit has been assessed ancillary services charges because of its
         interconnection, and issues of generator payments and ancillary services are outside the
         scope of this proceeding.96 PPL contends that the calculations of cost shifting overstate
         the likely impact on customers and are moreover outside of the scope of this
         proceeding.97

                 Constellation and Vistra contend that Exelon and AEP raise issues outside of the
         Commission’s jurisdiction.98 Constellation and Vistra contend that Susquehanna’s sale
         of electricity to the Co-Located Load is a matter of state law and is not under the purview
         of the Commission because it neither comes from, nor enters, the interstate transmission
         system.99 Constellation and Vistra also argue that the Commission cannot find
         jurisdiction over the power sale arrangement simply due to the fact that Commission-
         jurisdictional interconnection facilities may be used in serving the Co-Located Load
         because the scope of the Commission’s jurisdiction over the interconnection facilities is
         limited to the service being provided to the generator and the design and operational
         measures necessary to assure the Commission that no Commission-jurisdictional service
         is being provided to the Co-Located Load.100 Constellation and Vistra state that PJM has
         not created a new type of transmission service as a generator’s behind-the-meter delivery
         of electricity to the Co-Located Load does not require transmission service under the
         PJM tariff.101 Constellation and Vistra contend that such delivery is entirely intrastate,
         and thus, beyond the Commission’s jurisdiction. Susquehanna also argues that the
         Co-Located Load’s behind-the-meter delivery facilities and service are not Commission-
         jurisdictional.102 Constellation and Vistra claim that the transmission facilities associated
         with the Co-Located Load are not Commission-jurisdictional facilities because the
         “facilities [are] used only for the transmission of electric energy in intrastate


                95
                     Constellation and Vistra Answer at 10.
                96
                     Id. at 11.
                97
                     PPL July 15, 2024 Answer at 8.
                98
                     Constellation and Vistra Answer at 11.
                99
                     Id. at 12-13.
                100
                      Id. at 13-14.
                101
                      Id. at 15.
                102
                      Susquehanna July 5, 2024 Answer at 10.
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         commerce.”103 Constellation and Vistra thus argue that Exelon and AEP’s concerns
         about the Commission’s open access requirements are not relevant.104

                 Constellation further argues that third parties oppose the Amended ISA because of
         their interest in adding transmission facilities to their rate base.105 Constellation asserts
         that most of the costs of connecting data centers to the transmission system are system
         upgrades that are borne by other ratepayers.106 Constellation also argues that the
         stakeholder process is the appropriate forum to consider the implications of large new
         front-of-meter loads.107

                 Vistra further argues that the Amended ISA followed the tariff-defined approach
         for non-conforming interconnection agreements. Vistra states that PJM’s necessary
         studies process resulted in non-conforming provisions that all parties agree are necessary
         for reliability.108 Vistra argues that rejecting the Amended ISA would create uncertainty
         for parties in how to serve the growing demand for co-located load.109 Susquehanna
         maintains that Susquehanna and its Co-Located Load have agreed to a solution that does
         not impose costs on unwilling customers.110 Susquehanna contends that load has a right
         to seek the most expedited and least cost alternative, and to do so without a regional
         benefits analysis that imposes “massive” network upgrade costs on other customers,
         including potentially in other states.111 Susquehanna underscores that the proposed
         non-conforming provisions are straightforward, justified, and limited to two issues,




                103
                      Constellation and Vistra Answer at 16 (quoting 16 U.S.C. § 824(b)(1)).
                104
                      Id. at 15-16.
                105
                      Constellation July 23, 2024 Answer at 2.
                106
                      Id. at 2-4.
                107
                      Id. at 5.
                108
                      Vistra Answer at 3-4.
                109
                      Id. at 4-5.
                110
                      Susquehanna July 5, 2024 Answer at 11.
                111
                      Id. at 12.
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         specifically, an increase in MW to the behind-the-meter, previously approved
         configuration and related reliability provisions.112

               PJM notes that the Amended ISA expressly preserves the parties’ rights to seek
         changes, such as whether there is an appropriate, non-discriminatory charge that PJM
         should assess for co-located facilities synchronized to the grid.113 PJM states that issues
         around co-located load are of interest to PJM stakeholders but, after almost two years,
         stakeholders did not reach a resolution on tariff changes.114

                C.        Answers Opposing Filing

                 SMECO, ODEC, OPSI, and the Pennsylvania Commission ask the Commission to
         set this matter for hearing. The Market Monitor requests that the Commission reject the
         filing or set it for hearing.

                 The Market Monitor asserts that the Amended ISA would provide unique and
         special treatment for a specific type of load and a specific type of power plant and would
         set a precedent for significant changes to the PJM markets that will impose costs on other
         market participants.115 SMECO and ODEC echo concerns about the precedential effect
         of Commission action in this case.116 ODEC contends that this case raises significant
         questions about fundamental structures of the PJM tariff and expresses concern that
         stakeholders have not reviewed this filing.117 In support of its hearing request, SMECO
         argues that Commission scrutiny of the Amended ISA would reduce uncertainty, not
         prolong it.118

                The Market Monitor contends that Susquehanna fails to show that the Amended
         ISA is consistent with or superior to the pro forma ISA and that it is necessary in order

                112
                      Id. at 3.
                113
                      PJM Answer at 4 (citing Amended ISA, Schedule F, pt. F.8, pt. F.9).
                114
                      Id. at 4-5.
                115
                      Market Monitor Answer at 3.
                116
                   SMECO Answer at 2; ODEC Answer at 2. While not taking an explicit
         position on the Amended ISA, the ITC Companies echo the view that action on the
         Amended ISA will be precedential. ITC Companies Comments at 2.
                117
                      ODEC Answer at 3, 4.
                118
                      SMECO Answer at 4.
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         to effectuate a bilateral sales agreement.119 ODEC argues that the instant filing lacks
         important details for ODEC and other PJM customers to properly evaluate it.120 SMECO
         asserts that Exelon and AEP raise genuine issues of fact about the Co-Located Load
         drawing power from the transmission system.121

                 The Market Monitor asserts that PJM has made policy decisions that were
         incorporated in the Amended ISA that have not been reviewed in the stakeholder process
         or by the Commission.122 The Market Monitor contends that the core benefit to the
         Co-Located Load is avoiding state and federal regulation and the associated costs, such
         as paying distribution charges and transmission charges.123 The Market Monitor states
         that Susquehanna is correct that the Amended ISA addresses reliability issues that are
         present but unaddressed in the Existing ISA. However, the Market Monitor argues that,
         by addressing these reliability issues more explicitly, the Amended ISA makes it clear
         that the Co-Located Load cannot and will not actually be isolated from the grid. The
         Market Monitor asserts that the filing rests on the “illusion” that the Co-Located Load
         at a nuclear plant can be fully isolated from the grid. The Market Monitor contends that
         the Co-Located Load will continue to rely on the grid for a range of ancillary services
         including frequency control, reactive support, spinning reserves, reserves in general,
         black start, and PJM administrative functions.124 SMECO emphasizes that this case is
         an opportunity for the Commission to clarify what type of services must be in place for
         co-located load configurations.125

                ODEC states that it shares concerns raised by Exelon and AEP about reliability,
         planning, and cost shifting.126 The Market Monitor asserts that any benefits to the
         Co-Located Load come at the expense of other customers in the PJM markets, and, if



               119
                     Market Monitor Answer at 3.
               120
                     ODEC Answer at 3.
               121
                     SMECO Answer at 3.
               122
                     Market Monitor Answer at 2.
               123
                     Id. at 5.
               124
                     Id. at 6.
               125
                     SMECO Answer at 3.
               126
                     ODEC Answer at 3.
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         extended to all nuclear plants in PJM, would cause extreme impacts.127 Specifically, the
         Market Monitor argues that: (1) power flows on the grid would change significantly
         because the grid was built based on the use of nuclear energy; (2) energy prices would
         increase significantly as low-cost nuclear energy is displaced; (3) capacity prices would
         increase as the supply of capacity to the capacity market is reduced; and (4) emissions
         would increase as thermal resources are dispatched to replace nuclear energy to meet
         load.128 Additionally, the Market Monitor expresses concern about the proposed
         provision to serve the Co-Located Load with a back-up unit that is a Generation Capacity
         Resource.129 Specifically, the Market Monitor argues that the filing does not address
         the impact on PJM’s overall Effective Load Carrying Capability (ELCC) analysis of
         removing significant levels of baseload power from the market or on the ELCC value
         of the nuclear facility if back-up power is needed when PJM load is high.130 Exelon
         and AEP argue that the parties supporting the filing do not identify errors in their
         $140 million annual cost-shift calculation or present an alternative calculation.131

                 As to PJM’s rules for transmission service, Exelon and AEP argue that, under the
         definition of Network Load, the election not to be served as Network Load requires
         making separate arrangements for Point-to-Point Transmission Service.132 Exelon and
         AEP argue no such arrangements have been made here. Exelon and AEP assert that the
         Commission held in Order No. 888-A that customers cannot “split” their load at a
         delivery point and that, therefore, because the Co-Located Load relies on the PJM grid
         and network services, the load at the delivery point of the Amended ISA must be entirely
         designated as Network Load and charged an appropriate rate based on the grid services
         utilized.133 Exelon and AEP also argue that the PJM tariff provisions relating to behind-
         the-meter generation do not apply here because the transmission system will be relied on
         to serve the Co-Located Load under the Amended ISA.134


               127
                     Market Monitor Answer at 6-7.
               128
                     Id. at 7.
               129
                     Id. at 5-6.
               130
                     Id. at 6.
               131
                     Exelon and AEP July 17, 2024 Answer at 17.
               132
                     Id. at 7-8.
               133
                     Id. at 21-22 (citing Order No. 888-A, FERC Stats. & Regs. ¶ 31,048 at 30,259).
               134
                     Id. at 13-14.
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                 Exelon and AEP also claim that the proposed configuration presents significant
         reliability concerns that have not been fully addressed and should be explored in hearing
         procedures, including the proposed use of a remedial action scheme on a permanent
         basis, when they are generally employed as temporary mitigation measures to allow time
         to implement permanent and robust solutions, such as additional infrastructure or
         improved system design.135

                 Exelon and AEP further state that they support co-located load and work with data
         centers to meet their needs, but assert that such load still relies on network infrastructure
         and should pay for it.136 Exelon and AEP argue that the issue in this proceeding is not the
         location of load or whether upgrades are needed to support the requested service but
         whether all customers, co-located and not, are paying their fair share of system costs,
         which includes the necessary ancillary services to support the grid.137 Exelon and AEP
         further contend that the fundamental mechanics of all rate design is requiring all load
         customers to share the costs of the system, even when that fraction of costs that are
         individually assigned to an individual customer are small, and to do so otherwise would
         raise the costs for network service paid by other customers.138

         IV.    Deficiency Letter, Response, and Responsive Pleadings

                A.        Deficiency Letter

                On August 2, 2024, Commission staff issued a deficiency letter asking PJM to
         explain why the new proposed non-conforming provisions related to the Co-Located
         Load configuration are necessary deviations from PJM’s pro forma ISA.139 In particular,
         the deficiency letter asked PJM to elaborate on whether there are any specific reliability


                135
                    Exelon and AEP state that, at the very least, adoption of this type of load-
         shedding as a key component of operating the interconnection, rather than as a last resort
         to avoid a cascading outage, deserves further consideration via the hearing process. Id.
         at 15 (citing City of Alameda, Ca. v. Pac. Gas & Elec., 176 FERC ¶ 61,013, at P 45
         (2021) (“The Commission has recognized that loss of load is permitted to prevent
         cascading outages as a last resort.”)).
                136
                      Exelon and AEP July, 24, 2024 Answer at 1-2.
                137
                      Id. at 2-3.
                138
                      Id. at 4.
                139
                  On the same day, the Commission announced a Commissioner-led Technical
         Conference on Large Co-Located Load in Docket No. AD24-11-000.
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         concerns, novel legal issues, or other unique factors that make the non-conforming
         language necessary.140
               B.     Deficiency Response

                 In its deficiency response, PJM states that since its submission of its initial filing
         and answer, the Commission and the North American Electric Reliability Corporation
         (NERC) have commenced regulatory proceedings that appear to corroborate the need to
         address reliability concerns, novel legal issues, and/or other unique factors associated
         with co-located loads – which are the factors that gave rise to the development of the
         non-conforming terms and conditions submitted in the Amended ISA.141 PJM argues
         that, given these regulatory developments, Susquehanna’s first-of-its-kind Co-Located
         Load configuration between an existing nuclear power plant and a large data center load
         fits within the Commission-envisioned category of the “small number of extraordinary
         interconnections where reliability concerns, novel legal issues, or other unique factors
         would call for the filing of a non-conforming interconnection agreement.”142

               PJM states that the proposed amendments here were developed to address the
         needs of the parties based on the circumstances of this particular interconnection and that
         approval of the provisions should be limited to these circumstances.143 PJM states that


                140
                   PJM Interconnection, L.L.C., Docket No. ER24-2172-000 (Aug. 2, 2024)
         (Deficiency Letter).
                141
                    Deficiency Response at 3. Specifically, PJM notes that the Commission has
         issued a supplemental notice of a Commissioner-led technical conference in Docket
         No. AD24-11-000 to discuss “[b]roadly” issues including “whether co-located loads
         require the provision of wholesale transmission or ancillary services, related cost
         allocation issues, and potential resource adequacy, reliability, affordability, market
         and customer impacts.” Id. at 4 (quoting Large Loads Co-Located at Generating
         Facilities, Supplemental Notice of Commissioner-Led Technical Conference, Docket
         No. AD24-11-000 (Aug. 16, 2024)). PJM also notes that NERC’s Reliability and
         Security Technical Committee recently published requests for participation in its
         Large Loads Task Force “to better understand the reliability impact(s) of emerging large
         loads such as Data Centers (including crypto and AI), Hydrogen Fuel Plants, etc., and
         their impact on the bulk power system (BPS).” Id. at 5 (quoting NERC, Large Load Task
         Force, available at https://www.nerc.com/comm/RSTC/Pages/LLTF.aspx).
                142
                      Id. at 5 (citing Deficiency Letter at 1-2).
                143
                    Id. at 6. However, PJM encourages the Commission to consider opportunities
         in other proceedings to provide PJM and stakeholders with: (1) generic guidance
         concerning how co-located load should be considered in light of issues concerning
         resource adequacy impacts, and appropriate compensation for ancillary services and
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         the proposed non-conforming revisions in Schedule F of the Amended ISA are necessary
         and relate to the novel and unique operational and other characteristics of this specific
         ISA.144 PJM first addresses Schedule F, Part B (Provisions Related to Co-Located Load
         Configuration), which provides that the interconnection customer has proposed
         modifications to the facility to physically transfer 960 MW of power to the transmission
         facilities of the Co-Located Load and explains the results of the necessary studies of
         those proposed modifications, in particular, that the customer may transfer no more than
         480 MW at this time. PJM states that these provisions provide clarity, background
         information, and facts specific to the novel Susquehanna interconnection.145

                 Regarding Schedule F, Part C.1 (Provisions Relating to Generation Capacity
         Resource Status and Capacity Modifications), PJM states that this section provides clarity
         by affirming and clearly defining Susquehanna’s obligations regarding its status as a
         Generation Capacity Resource in PJM, its Co-Located Load, markets obligations, and
         communication requirements.146 PJM states that the Amended ISA does not change the
         PJM tariff or the market rules with respect to a unit surrendering its CIRs; instead, it
         eliminates uncertainties about how the generator subject to the novel interconnection is
         to follow those existing market rules and communication requirements to provide clarity
         to the marketplace and the parties about who is expected to do what and when. PJM
         states that this provision sets forth the procedural mechanism by which capacity values
         are to be reduced (both in terms of the timing of such reductions and the method of such
         submittal). PJM also states that this provision sets forth other critical prerequisites–
         principally the procurement of replacement capacity–that must be satisfied before service
         to any incremental load additions can take effect during a Delivery Year and only if
         replacement capacity is available for procurement. PJM states that while one could argue
         that these terms are inherent in the PJM tariff today, PJM’s discussions with market
         participants (not necessarily Susquehanna) have led it to conclude that such clarifying
         statements will promote compliance by generators with PJM’s market rules. In addition,
         PJM states that this provision provides guidance about how capacity value reductions are

         transmission services; (2) opportunities to hear from states about any role they see
         themselves playing in reviewing requests to serve retail co-located load (if and where
         applicable under law); and (3) any guidance regarding case-specific details to be
         embodied in any implementing ISA, including such things as the type of generator, the

         capacity factor of the generation, the nature of the load, the potential for back-up supply,
         the location of the load and related facilities, and other similar matters. Id. at 6-7.
                144
                      Id. at 8.
                145
                      Id. at 9.
                146
                      Id. at 10.
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         to be implemented and communicated to PJM when a Capacity Market Seller invokes the
         PJM tariff, Attachment DD, section 6.6 process to seek removal of capacity resource
         status for all or part of the resource, which will result in the reduction of a commensurate
         amount of CIRs.147 PJM notes that this is a tariff process that requires engagement with
         the Market Monitor.148

                Regarding Schedule F, Part C.2 (Provisions Relating to Generation Capacity
         Resource Status and Capacity Modifications) (Use of Generation Unit as a Back-Up
         Unit), PJM states that this section provides clarity by affirming and clearly defining
         Susquehanna’s obligations regarding its status as a Generation Capacity Resource in the
         scenario where a second unit (which is a Generation Capacity Resource and retained its
         CIRs) physically transfers power to the transmission facilities of the Co-Located Load
         as a back-up to the unit that is primarily dedicated (in whole or in part) to supplying the
         Co-Located Load.149 PJM states that, on the one hand, a Generation Capacity Resource
         has certain obligations to PJM to supply power to the grid; on the other, a Generation
         Capacity Resource has certain rights to declare its availability to the grid and there are
         prescribed Capacity Resource Deficiency Charges and/or Non-Performance Charges, as
         well as potential future impacts to unit accreditation based on actual unit performance.150

                 PJM also states that Schedule F, Part C.2 sets forth the procedural mechanism by
         which unit capacity values are reduced (both in terms of the timing of such reductions
         and the method of such submittal) and other critical market prerequisites that must be
         met before the back-up unit can transfer power to the facilities of the Co-Located Load,
         including if an outage request for a unit to provide back-up power is withheld or
         withdrawn due to conditions that may threaten the integrity or reliability of the PJM
         region or the regional power system.151 PJM also states that this provision clarifies that
         system reliability needs to be sustained through the maintenance of sufficient capacity
         for the system notwithstanding a business desire to use a back-up unit. PJM states that
         the Amended ISA makes clear that its terms are subject to modification pursuant to
         sections 205 and 206 of the FPA based on the outcome of future Commission
         proceedings, including the market rules for capacity resources.


                147
                   Id. at 10-11 (citing PJM, Intra-PJM Tariffs, 230.3, OATT 230.3 (Loss of
         Capacity Interconnection Rights) (7.0.0), §230.3.3 (Replacement of Generation)).
                148
                      Id. at 11.
                149
                      Id. at 11-12.
                150
                      Id. at 12.
                151
                      Id.
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                Regarding Schedule F, Part C.3 (Provisions Relating to Generation Capacity
         Resource Status and Capacity Modifications) (Reductions in Capacity Interconnection
         Rights), PJM states that this provision existed in substantially the same form in the prior
         ISAs and that it clarifies that any reductions in capacity require a reduction in the CIRs
         for each unit.152

                 Regarding Schedule F, Part D (Provisions Relating to Operations), PJM states that
         this provision has been added to clarify roles and responsibilities regarding coordination,
         authorization, and communication by and among PJM, PPL, and Susquehanna in support
         of reliable system operations.153 PJM states that this provision is intended to delineate
         restrictions on Susquehanna’s ability to physically transfer power to the transmission
         facilities of the Co-Located Load from one of the two units at the Customer Facility in
         the event the unit responsible for transferring that power is not available.154 PJM states
         that this provision supports reliable system operations because it requires PJM to first
         assess the needs of the PJM region and regional power system before any power from the
         back-up generating unit will be permitted to be transferred to the transmission facilities
         of the Co-Located Load.155 PJM also states that the provision promotes reliable system
         operations because it provides that Susquehanna cannot unilaterally and automatically
         take a Generation Capacity Resource out of the service of the PJM region to transfer
         power to the Co-Located Load absent PJM authorization. Finally, PJM states that this
         provision clarifies that the outage coordination and approval process set forth in the
         PJM Manuals will apply in a non-discriminatory fashion.156

                 Regarding Schedule F, Part E (Provisions Relating to System Protection
         Facilities), PJM states that these provisions, collectively, build upon existing language
         in the Existing ISA, Schedule F, section 3 to advance reliable system operations
         interests and information sharing among the parties.157 PJM states they reflect an effort
         to minimize the potential for an unauthorized taking of wholesale or retail power from
         the PJM transmission system to ultimately provide service to the Co-Located Load.
         PJM states that a failure to abide by these terms and conditions, and any others in the
         agreement, give rise to the potential for a breach of the Amended ISA and the process

                152
                      Id. at 13.
                153
                      Id. at 14.
                154
                      Id. at 14-15.
                155
                      Id. at 15.
                156
                      Id.
                157
                      Id. at 16.
                Case:
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         and consequences arising thereunder, which may give rise to referrals to the Market
         Monitor or other appropriate authorities including the Commission. PJM states that the
         Amended ISA does not change in any respect the pro forma ISA’s breach mechanism,
         which has historically proceeded among the three parties to the ISA (with compliance
         referrals–whether self-reported or otherwise–where deemed necessary).158

                 Regarding Schedule F (Other Terms and Conditions), Part F.1, which states
         Co-Located Load is not equivalent to Station Power Load, PJM explains that this section
         clarifies an obvious but necessary point to avoid any confusion with existing law and
         practice relating to station power.159 PJM states that although Susquehanna has not been
         confused by this concept, other market participants have claimed to be.

                 Regarding Schedule F, Part F.2, PJM states that this section reaffirms
         Susquehanna’s obligation to abide by PJM’s Governing Agreements, including rules
         related to the Customer Facility’s Accredited Unforced Capacity (UCAP) values, which
         is important because the Customer Facility’s Accredited UCAP values will be impacted
         by the amount of power physically transferred to the Co-Located Load’s transmission
         facilities.160

                 Regarding Schedule F, Part F.3, which provides that the capacity value of the
         Customer Facility that is a Generation Capacity Resource cannot exceed the CIRs listed
         in Specifications section 2.1, PJM states that this provision is important because absent
         commencing additional process, the CIRs will be relinquished and will not be increased
         once the Co-Located Load materializes, even if the Co-Located Load is not consuming
         all of the delisted capacity.161

                 Regarding Schedule F, Part F.4, PJM states that this provision provides that
         Co-Located Load is not Network Load as defined in the tariff and delineates the parties’
         rights and obligations in the event the Co-Located Load’s facilities draw power from the
         Transmission System or the Interconnected Transmission Owner’s system.162 PJM states
         that the PJM tariff, Part I, definition of “Network Load” states that Network Load is “the
         load that a Network Customer designates for Network Integration Transmission Service
         under Tariff, Part III.” PJM states that, in this case, no part of the Co-Located Load has

                158
                      Id. at 16-17.
                159
                      Id. at 17.
                160
                      Id.
                161
                      Id. at 18.
                162
                      Id. at 19.
                Case:
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         been designated Network Load by any Network Customer.163 PJM states that if there is a
         desire that the retail supplier of the Co-Located Load become Network Load, or,
         assuming the Co-Located Load is an Eligible Customer under the PJM tariff for
         transmission service, either could elect to pursue Network Load status, which PJM
         states it has recommended in non-binding guidance.164 In such situations, PJM states
         that the necessary study process would be followed so that the appropriate studies were
         conducted and the ISA would be further revised.

                 PJM states that, in stating that the Co-Located Load is “not Network Load,”
         the Amended ISA is making a statement of fact. PJM states that this statement clarifies
         that no capacity or energy may be drawn from the transmission system to supply any of
         the Co-Located Load at any given moment, without Susquehanna being in breach of the
         Amended ISA, and potentially other regulatory requirements.165 PJM states that the
         factual statement does not pre-judge the issue of whether the Co-Located Load or its
         retail service provider must purchase any retail or wholesale service; the latter issue is
         governed by the PJM tariff, which is subject to change.166

                PJM also states that the Amended ISA is not resolving the question of whether
         the Co-Located Load arrangement is taking transmission service or otherwise benefitting
         from attributes of the transmission system.167 According to PJM, the Amended ISA is
         also not resolving the question of whether ancillary services are actually being utilized
         by the Co-Located Load, nor whether or not the utilization of a Generation Capacity
         Resource as a “back-up unit” means the Co-Located Load is a retail customer of the
         system of a load serving entity that has procured that capacity. Those issues, in PJM’s
         view, are under consideration and may require generic policy guidance from the

                163
                   Id. Further, PJM states that precedent establishes that “the Commission will
         allow a network customer to either designate all of a discrete load as network load under
         the network integration transmission service or to exclude the entirety of a discrete load
         from the network service and serve such load with the customer’s ‘behind-the-meter’
         generation and/or through any point-to-point transmission service[.]”. Id. at 19 n.18
         (quoting Order No. 888-A, FERC Stats. & Regs. ¶ 31,048 at 30,260). Deficiency
         Response at 19 n. 18.
                164
                   PJM states that whether the Co-Located Load itself is an Eligible Customer
         under the PJM tariff is an issue that may be controlled, in part, by state law/regulation
         on unbundled retail transmission. Id. at 19 n.19.
                165
                      Id. at 19-20.
                166
                      Id. at 20.
                167
                      Id.
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         Commission. PJM states that for these reasons, the Amended ISA makes clear that its
         terms are subject to modification pursuant to sections 205 and 206 of the FPA based upon
         the outcome of future Commission proceedings. Accordingly, PJM states that this
         provision should not serve as a bar to Commission acceptance of the Amended ISA.

                Regarding Schedule F, Part F.5, PJM states that this provision provides clarity as
         to Susquehanna’s obligation to adhere to the Modification of Facilities provisions of the
         Amended ISA (which is already included in the pro forma ISA) in the event it intends
         to pursue any additional planned modifications beyond the total co-located load addition
         of 960 MW.168 PJM states that this provision is necessary because some entities
         interconnected under PJM’s interconnection procedures (not Susquehanna) have taken
         the position that they are free to add Co-Located Load without notification to PJM and
         an Interconnected Transmission Owner, and without the requisite study process being
         followed.169

                Regarding Schedule F, Part F.6 and Schedule F, Part F.7, PJM states that these
         provisions clarify Susquehanna’s obligations to provide advanced notice of any proposed
         modifications to the specifically defined Operating Procedure the Customer Facility has
         provided to PJM and PPL, and clarify PJM and PPL’s right to review and approve any
         proposed changes to the Co-Located Load configuration PJM studied, or the Co-Located
         Load.170

                Regarding Schedule F, Part F.8, PJM states that this provision is necessary
         because it clarifies that, consistent with Commission precedent interpreting the pro forma
         ISA, the Amended ISA (like the prior ISAs) is subject to the ordinary just and reasonable
         standard of review for changes pursuant to section 205 of the FPA, and not the “public
         interest” application of the just and reasonable standard of review commonly referred to
         as the “Mobile Sierra” standard of review.171

                Regarding Schedule F, Part G (Provisions Relating to the Co-Located Load’s
         Transmission Facilities), PJM states that in the potential absence of contractual privity
         with the entity responsible for operational activities of the transmission facilities of the

                168
                      Id.
                169
                      Id. at 20-21.
                170
                      Id. at 21-22.
                171
                  Id. at 22-23 (citing NRG Power Mktg., LLC v. Me. Pub. Utils. Comm’n,
         558 U.S. 165 (2010); Morgan Stanley Cap. Grp. Inc. v. Pub. Util. Dist. No. 1,
         554 U.S. 527 (2008); United Gas Pipe Line Co. v. Mobile Gas Serv. Corp.,
         350 U.S. 332 (1956); FPC v. Sierra Pacific Power Co., 350 U.S. 348 (1956)).
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         Co-Located Load, Part G.1 requires PJM to be given access to accurate and potentially
         important legal and operational contact information.172

                 Finally, regarding Schedule F, Part G.2, PJM states that this provision clarifies that
         regardless of what entity may be responsible for operational activities of the transmission
         facilities of the Co-Located Load and regardless of the entity that may own or control the
         Co-Located Load itself, any breaches or noncompliance under this agreement attributed
         to the activities of such entities or that remain Susquehanna’s obligations are the duty and
         responsibility of Susquehanna to cure.173

               PJM requests that whatever action the Commission ultimately takes in this
         proceeding will not affect the August 3, 2024 effective date originally requested for the
         Amended ISA.174

                C.          Notice of Deficiency Response

                 Notice of PJM’s Deficiency Response was published in the Federal Register,
         89 Fed. Reg. 73,402 (Sept. 10, 2024) with interventions and protests due on or before
         September 24, 2024. Public Citizen, Inc., Klondike, and Rutgers, The State University of
         New Jersey each filed a timely motion to intervene. Exelon and AEP filed a joint protest.
         Susquehanna filed supporting comments. On October 4, 2024, Pennsylvania Governor
         Josh Shapiro filed comments out-of-time. On October 9, 2024, PPL and Constellation
         each filed a motion for leave to answer and answer. On October 16, 2024, Exelon and
         AEP filed a motion for leave to answer and answer. On October 22, 2024, Susquehanna
         filed a motion for leave to answer and answer. On October 24, 2024, Cole Muller,
         Executive Vice President of Strategic Ventures at Talen Energy Corporation, filed
         comments out-of-time. On October 31, 2024, Maryland State Senator Katie Fry Hester
         filed comments out-of-time.

                D.          Responsive Pleadings

                 Exelon and AEP argue that PJM’s Deficiency Response does not demonstrate
         that all the non-conforming terms are “consistent with or superior to” the terms of the
         pro forma ISA and that they are “necessary” for the safe and reliable interconnection of
         the Co-Located Load and generation configuration.175 Specifically, Exelon and AEP

                172
                      Id. at 24.
                173
                      Id.
                174
                      Id. at 25.
                175
                      Exelon and AEP September 24, 2024 Protest at 2.
                Case:
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         claim that PJM fails to explain why it is necessary to declare that the Co-Located Load is
         “not Network Load,” thereby creating a new, undefined category of customers that rely
         upon the transmission system but avoid all transmission charges.176 First, Exelon and
         AEP contend that the applicants have inherently acknowledged that the effect of calling
         the Co-Located Load “not Network Load” is that the Co-Located Load will not pay for
         NITS.177 Exelon and AEP state that no party has explained why it is necessary for this
         load to escape responsibility for paying transmission charges.178 Exelon and AEP argue
         that PJM’s “statement of fact” is not related to any reliability concerns or technical
         interconnection considerations, nor does it memorialize current or future obligations of
         the parties to one another.179 Second, Exelon and AEP reiterate their claim that this
         designation is in conflict with the tariff, which provides that any load not designated
         Network Load must take Point-to-Point Transmission Service. Third, Exelon and AEP
         assert that, despite PJM’s claim that it is not prejudging whether the Co-Located Load
         must purchase any wholesale service, by asking the Commission to accept the Amended
         ISA as filed, PJM is prejudging that issue—at least for purposes of this Amended ISA.180
         Exelon and AEP claim that accepting the Amended ISA and allowing it to go into
         effect permits the Co-Located Load to avoid contributing to the cost of the existing
         transmission system, to the detriment of other customers.181 Further, Exelon and AEP
         argue that PJM’s assertion is unsupported and contrary to the unrebutted evidence
         submitted by Exelon and AEP that demonstrates that the Co-Located Load does, in fact,
         continuously rely on the transmission system.182

                Exelon and AEP state that the fact that the Commission is convening a technical
         conference to discuss the subject of co-location and that NERC is engaging in a similar
         inquiry does not excuse the applicants from having to justify the specific arrangements in




                176
                      Id. at 2-3.
                177
                      Id. at 4.
                178
                  Id. at 4-5. Sen. Hester’s comments also identify the issue of cost shifting in this
         proceeding. Maryland State Senator Katie Fry Hester Comments at 11.
                179
                      Exelon and AEP September 24, 2024 Protest at 5.
                180
                      Id. at 6.
                181
                      Id.
                182
                      Id. at 3.
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         the Amended ISA.183 Exelon and AEP state that consequently, the Commission should
         reject the Amended ISA or, at a minimum, set this matter for hearing.

                 Exelon and AEP also argue that, although the Deficiency Response provides
         descriptions for each of the non-conforming provisions of the Amended ISA, it fails to
         provide answers to the fundamental questions Exelon and AEP raised in the pleadings.184
         Exelon and AEP also argue that based on the record in this proceeding, it appears that
         Susquehanna and PJM disagree regarding whether, and the extent to which, the load uses
         grid services.185 Exelon and AEP argue that the Commission has been clear that “any
         modification of a written contract must satisfy all the fundamental elements of a valid
         contract, including a meeting of the minds between the parties with regard to all essential
         terms of the agreement and consideration” and that there is no “meeting of the minds”
         here.186 Exelon and AEP argue that there is no way, under the Amended ISA, to stop real
         power withdrawals from PJM in the case of a unit outage and, in fact, the Amended ISA
         recognizes this possibility.187 Exelon and AEP state that if this arrangement is not
         using the transmission grid, it should island itself, thereby resolving all issues in this
         proceeding, but it cannot do so.188 Exelon and AEP contend that the Co-Located Load
         has contracted for energy and capacity from one unit, but if that unit fails, relies on the
         flexibility of the grid to obtain access to other resources while also ensuring that other
         loads are not hurt.189 Exelon and AEP argue that there is nothing novel about this
         arrangement, which is simply network service under the PJM tariff.


                183
                      Id. at 6.
                184
                      Id. at 7.
                185
                    Exelon and AEP note that Susquehanna, without sworn support, states that the
         load “has no right to be served by the grid” and “will not draw power from the network.”
         Id. (quoting Susquehanna July 5, 2024 Answer at 9). In contrast, in the Deficiency
         Response, PJM suggests the question remains open whether “ancillary services are
         actually being utilized by the Co-Located Load” or whether the arrangement is “taking
         transmission service or otherwise benefitting from attributes of the transmission system.”
         Id. (quoting Deficiency Response at 20).
                186
                   Id. at 8-9 (citing S.C Elec. & Gas Co., 158 FERC ¶ 61,027 (2017), reh’g
         denied, 162 FERC ¶ 61,024, at P 8 (2018) (rejecting amended services agreement)).
                187
                      Id. at 11.
                188
                      Id. at 2.
                189
                      Susquehanna September 24, 2024 Comments at 11.
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                 Susquehanna states that PJM’s Deficiency Response provides ample justification
         for each deviation in the Amended ISA.190 Susquehanna reiterates that the Commission’s
         jurisdiction in the instant proceeding is limited to determining whether the Amended ISA
         is just and reasonable.191 Susquehanna states that the Commission’s standard for
         approval of pro forma variations are intended to protect against transmission provider
         discrimination or favoritism towards affiliated generation.192 Susquehanna asserts
         that such a risk of discrimination is not present here as the Amended ISA is between
         unaffiliated parties who all support the agreement. Susquehanna states that the
         non-conforming provisions are necessary due to reliability considerations and unique
         circumstances not addressed by the pro forma language.193

                Susquehanna contends that the ISAs do not provide for transmission service or a
         transmission rate or contain market participant requirements.194 Susquehanna states that
         it would be unreasonable and contrary to the FPA for the Commission to issue a decision
         with respect to the Amended ISA based on alleged retail rate impacts or in a manner that
         would force (even indirectly) Susquehanna to participate in federally regulated energy
         or capacity markets.195 Susquehanna asserts that the actual and limited scope of this
         proceeding has been buried by “headline-grabbing” assertions of alleged cost shifting
         that have no basis in fact or law and that are outside the scope of this proceeding.196
         Susquehanna states that the Commission can take the reliability of the Commission-
         jurisdictional transmission grid into account, but that authority does not extend to
         changes in electricity demand and load growth presented by co-located load
         arrangements.197 Susquehanna explains that PJM has undertaken necessary studies for



                190
                      Id. at 1, 3.
                191
                      Id. at 4.
                192
                      Id. at 11.
                193
                      Id. at 12-14.
                194
                      Id. at 4.
                195
                    Id. Susquehanna states that this is because the Commission is a “creature of
         statute.” Id. (citing Atl. City Elec. Co. v. FERC, 295 F.3d 1, 8 (D.C. Cir. 2002) (citing
         Mich. v. EPA, 268 F.3d 1075, 1081 (D.C. Cir. 2001))).
                196
                      Id. at 5.
                197
                      Id. at 8.
                Case:
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         the proposed modifications and determined that the Amended ISA does not present any
         reliability concerns.198

                Susquehanna asserts that Exelon and AEP’s claim of $140 million in consumer
         harm is not accurate.199 Susquehanna explains that $140 million is the cost to service a
         480 MW load at 98% capacity factor under PPL’s LP-5 retail tariff rate.200 Susquehanna
         argues, in other words, that this is how much the utility would get paid for providing
         distribution electric service to the Co-Located Load if it was directly connected to the
         distribution system.201 Susquehanna states that this cost will not be shifted to retail
         customers, and at most, this amount represents lost opportunity costs for PPL.202
         Susquehanna states that PPL has not constructed any facilities in preparation to deliver
         power to the Co-Located Load and thus there are no such costs in PPL’s rate base that
         will be potentially shifted to retail customers.203 Susquehanna states that the retail
         customer (here the Co-Located Load) and the merchant generator bear the capital costs
         themselves, making co-location more retail customer friendly, not less.204 Susquehanna
         argues that co-located load arrangements can actually result in cost savings.205

               Susquehanna contends that the Amended ISA does not present any direct
         market concerns and that such matters are outside of the scope of this proceeding.206
         Susquehanna states that affiants Mr. Schatzki and Mr. Cavicchi explain that impacts to
         energy markets should not depend on whether load is co-located at a new or existing
         generation facility or it receives its supply directly from the grid.207 Susquehanna states

                198
                      Id. at 14.
                199
                      Id.
                200
                      Id. at 6 (citing app. A, Schatzki and Cavicchi Aff. ¶¶ 20, 28) (emphasis in
         original).
                201
                      Id. at 6.
                202
                      Id. See also Constellation October 9, 2024 Answer at 7.
                203
                      Susquehanna September 24, 2024 Comments at 6.
                204
                      Id. at 7.
                205
                      Id. (citing app. A, Schatzki and Cavicchi Aff. ¶¶ 14-15).
                206
                      Id. at 9.
                207
                      Id.
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         that if the load is going to be constructed and operated regardless of whether it will be
         co-located and supplied behind-the-meter or connected to and supplied from the
         distribution grid, then the impact of the load demand and supply on the market clearing
         price will be the same in either scenario.

                 Susquehanna affiants Mr. Schatzki and Mr. Cavicchi state that while transmission
         services allow market participants to buy and sell power over a utility-owned
         transmission system, the availability of transmission service under the PJM tariff is
         not intended to require that market participants use the services offered by the network,
         but instead to provide the option to use the services.208 Mr. Schatzki and Mr. Cavicchi
         state that Exelon and AEP affiants Mr. Reed and Ms. Powers assume that the Co-Located
         Load under the Amended ISA takes the same level of transmission service when
         co-located as compared to when it locates on the system, and that this is inaccurate
         and they provide no other rationale for their claim other than the assertion that the
         Co-Located Load must take either NITS or Point-to-Point Transmission Service.209
         Mr. Schatzki and Mr. Cavicchi state that protestors ignore that the Co-Located Load
         served under the Amended ISA does not receive energy and capacity from the PJM
         network.210

                 Constellation argues that it is indeed possible to incorporate a special purpose
         relay scheme that switches the load off if the co-located generator trips, prohibiting the
         co-located load from receiving power (other than its own independent back-up) if the
         supplying generation fails.211 Constellation claims that while neither Exelon and AEP
         affiant Mr. Weaver nor Constellation affiant Mr. Herling have reviewed the details of
         Susquehanna’s protective schemes, PJM and PPL have, and the language of the Amended
         ISA is clear and unambiguous with respect to the protection schemes. Constellation
         contends that protective relays provide a straightforward explanation for how nuclear
         generators can maintain their mandatory synchronization to the grid (in the event of
         a sudden loss of the generating facility) and still serve separate dependent loads.212
         Constellation also argues that as its affiants Mr. Herling and Dr. Shanker fully discuss
         from both an engineering and rate design perspective, fully isolated co-located load does

                208
                Id. App. A, Schatzki and Cavicchi Aff. ¶ 25 (citing PJM, Intra-PJM Tariffs,
         OATT, Definitions (L – M – N) (46.0.0) (Network Load)).
                209
                      Id. pp. A, Schatzki and Cavicchi Aff. ¶ 27.
                210
                      Id. app. A, Schatzki and Cavicchi Aff. ¶ 27 (citing Amended ISA, sched. F,
         pt. F.4).
                211
                      Constellation October 9, 2024 Answer at 4 (citing Herling Aff. ¶¶ 9, 13).
                212
                      Id. at 5.
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         not rely on the grid’s ancillary services. Constellation contends that if there is any
         arguable “use” of any services, it is by the generator, not the co-located load, for ancillary
         services.213 Constellation states that even then, there is still no incremental usage caused
         by the co-located load. Constellation contends that the Commission, however, has
         looked at this issue before and determined not to charge generators for any ancillary
         services for legitimate policy reasons.214

                 Regarding Exelon and AEP’s cost shift argument, Constellation argues that, if
         load is fully isolated, there are simply no costs to shift.215 PPL also disagrees with
         Exelon and AEP’s assertion and calculation of a cost shift to PPL’s customers. 216
         PPL further states that that a hypothetical charge to a hypothetical PPL customer is not
         relevant to the ISA and whether it is just and reasonable but rather the only relevant issue
         is whether the ISA improves the reliability of the Susquehanna-PPL interconnection.217
         PPL reiterates that its position on the ISA is that it believes that the amendments to the
         ISA improve the reliability of the transmission grid and protects PPL’s customers from
         potential negative effects of the Co-Located Load.218

                Pennsylvania Governor Josh Shapiro states that while the rapid pace of
         development of data centers and other large sources of electric demand presents
         challenges to the grid, he does not believe that the solution should be a “complicated
         patchwork of different rules for different utilities in Pennsylvania, or a significant
         departure from traditional rules that allocate costs based on the extent to which an
         off-taker is served by the grid.”219 Governor Shapiro requests that any action the
         Commission takes allows Pennsylvania to retain its ability through state policy decisions
         to continue serving as a leader for these issues.



                213
                      Id. at 5-6.
                214
                 Id. at 6 (citing Integration of Variable Energy Res., Order No. 764,
         139 FERC ¶ 61,246, order on reh’g, 141 FERC ¶ 61,232 (2012), order on reh’g,
         144 FERC ¶ 61,222 (2013)).
                215
                      Id. at 7.
                216
                      PPL October 9, 2024 Answer at 1.
                217
                      Id. at 1-2.
                218
                      Id. at 2-3.
                219
                      Pennsylvania Governor Josh Shapiro Comments at 1.
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                 Exelon and AEP contend that, during a September 24, 2024 hearing on co-located
         load held by the Maryland Commission, PJM acknowledged that the co-located load
         arrangement here does use and rely on PJM transmission facilities and the services
         the PJM grid delivers.220 Specifically, PJM stated at the hearing that “[u]nder any
         configuration, co-located load is electrically connected and synchronized to the PJM
         transmission system when consuming power, and therefore, benefits from the use of the
         transmission system and ancillary services, such as black start and regulation services.”221
         Exelon and AEP argue that there is nothing unique about this arrangement such that PJM
         has met its high burden for the Commission to approve this filing.222 Exelon and AEP
         argue that while Susquehanna argues that Exelon and AEP have not quantified the
         associated ancillary services charges, Susquehanna never challenges the fact that
         co-located load does consume ancillary services.223 Exelon and AEP also argue that
         Susquehanna’s affiants ignore the back-up unit issue in their analysis, which renders the
         rest of their analysis invalid. Exelon and AEP argue that the back-up generating unit will
         “obviously” violate its commitments assumed with its capacity supply obligation and that
         Susquehanna will obtain replacement capacity by relying on the grid.224 Exelon and AEP
         contend that the only difference between the configuration at issue here and any other,
         ordinary load is the location of the meter, and meters only change accounting, not the
         physics of the interconnection.225 Exelon and AEP argue that the configuration raises
         profound questions about maintaining reliability, and it is unclear whether PJM will have
         visibility into the Co-Located Load. Exelon and AEP contend that the Amended ISA
         does not prevent the Co-Located Load from leaning on the grid in the event of an
         outage.226

                 Susquehanna responds that, taken to its logical conclusion, Exelon and AEP’s
         answer would result in every piece of electric equipment in the United States becoming
         part of a federalized grid, subject to the jurisdiction of the Commission, and having the


                220
                      Exelon and AEP October 16, 2024 Answer at 3.
                221
                    Id. (quoting Senate Bill 1 Co-location Study, PC 61, Hearing at 16-17
         (Sept. 24, 2024)).
                222
                      Id. at 9.
                223
                      Id. at 12.
                224
                      Id. at 13.
                225
                      Id. at 15.
                226
                      Id. at 19-20.
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         Commission regulate all the rates, terms, and conditions charged by transmission and
         distribution utilities.227

                 Susquehanna states that Exelon and AEP are correct that in November 2023, one
         of the Susquehanna units experienced an outage that inadvertently “caused the co-located
         facility to draw grid power for several hours rather than drawing power from the other
         Susquehanna unit as intended.”228 However, Susquehanna states that it paid the local
         Transmission Owner the applicable charges for the services used as a result of this
         event and, due to this experience, Susquehanna modified its configuration and installed
         additional equipment and developed other protective measures with the local
         Transmission Owner to ensure that the Co-Located Load cannot inadvertently draw
         power from the grid again.229 Regarding how the Co-Located Load will separate in the
         event of a loss of generation output at the plant, Susquehanna explains that, in such an
         event, redundant signals will be sent to an isolation breaker, which will then open and
         prevent the Co-Located Load from receiving any power or services from the grid.230

         V.     Discussion

                A.        Procedural Matters

                 Pursuant to Rule 214 of the Commission’s Rules of Practice and Procedure,
         18 C.F.R. § 385.214 (2024), the notices of intervention and timely, unopposed motions
         to intervene serve to make the entities that filed them parties to this proceeding.

                Pursuant to Rule 214(d) of the Commission’s Rules of Practice and Procedure,
         18 C.F.R. § 385.214(d), we grant the late-filed motions to intervene given these entities’
         interest in the proceeding, the early stage of the proceeding, and the absence of undue
         prejudice or delay. We also accept the out-of-time comments.

                Rule 213(a)(2) of the Commission’s Rules of Practice and Procedure, 18 C.F.R. §
         385.213(a)(2) (2024), prohibits an answer to a protest or answer unless otherwise ordered
         by the decisional authority. We accept the answers because they have provided
         information that assisted us in our decision-making process.


                227
                      Susquehanna October 22, 2024 Answer at 1.
                228
                      Id. at 3-4.
                229
                 Id. at 4. Mr. Muller provided similar statements about this outage in his
         comments. Cole Muller Comments at 5-6.
                230
                      Susquehanna October 22, 2024 Answer at 3.
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                B.       Substantive Matters

                As discussed below, we find that PJM has not demonstrated that the proposed
         non-conforming provisions in the Amended ISA are necessary deviations from the
         pro forma ISA due to specific reliability concerns, novel legal issues, or other unique
         factors. Accordingly, we reject the Amended ISA

                 In accordance with Order No. 2003, the Commission requires interconnection
         agreements that do not conform to the transmission provider’s pro forma interconnection
         agreement to be filed with the Commission.231 The Commission analyzes such non-
         conforming filings to ensure that operational or other reasons make a non-conforming
         agreement necessary.232 The Commission has recognized that non-conforming
         interconnection agreements may be necessary in a small number of extraordinary
         circumstances.233 The Commission recognizes that non-conforming agreements may be
         necessary for interconnections with specific reliability concerns, novel legal issues, or
         other unique factors.234 Thus, a transmission provider seeking a case-specific deviation
         from its pro forma interconnection agreement bears a high burden to justify and explain
         that its changes are not merely “consistent with or superior to” the pro forma agreement,
         but are necessary changes.235

                We find PJM has failed to meet the high burden to demonstrate the non-conforming
         provisions are necessary. For example, PJM insists that the proposed amendments were
         developed to address the circumstances of this particular interconnection and that approval
         could thus be limited to these circumstances. However, significant aspects of the
         proposed non-conforming provisions rely heavily on a generally applicable document,
         the PJM Guidance Document.236 This raises questions regarding whether PJM intends

                231
                 Order No. 2003, 104 FERC ¶ 61,103 at P 914; see also El Paso Elec. Co.,
         177 FERC ¶ 61,212, at P 24 (2021) (El Paso).
                232
                 El Paso, 177 FERC ¶ 61,212 at P 24; Renewable World Energies, LLC,
         176 FERC ¶ 61,140, at P 20 (2021).
                233
                  Midcontinent Indep. Sys. Operator, Inc., 177 FERC ¶ 61,233, at P 26 (2021);
         PJM Interconnection, L.L.C., 111 FERC ¶ 61,163 at P 10 (citing Order No. 2003,
         104 FERC ¶ 61,103 at PP 913-15; Order No. 2003-B, 109 FERC ¶ 61,287 at P 140).
                234
                 El Paso, 177 FERC ¶ 61,212 at P 24; Renewable World Energies, LLC,
         176 FERC ¶ 61,140 at P 20.
                235
                 El Paso, 177 FERC ¶ 61,212 at P 24; Renewable World Energies, LLC,
         176 FERC ¶ 61,140 at P 20.
                236
                      We note that the PJM Guidance Document is not part of the PJM tariff, has not
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         to offer these terms to all similarly situated interconnection customers.237 We conclude
         that these provisions demonstrate that PJM has not met its burden to show that these
         provisions are necessary for any interest unique to the interconnection of the Susquehanna
         Customer Facility.238 Indeed, the record indicates that other parties are interested in

         been approved by the Commission, and is not before the Commission in the instant filing.
         Therefore, the Commission has made and continues to make no determination regarding
         the justness and reasonableness of the PJM Guidance Document.
               237
                     See, e.g., El Paso Electric Co., 180 FERC ¶ 61,127, at 20 (2022) (“The
         reliability concerns that El Paso asserts justify its non-conforming revisions broadly
         apply to its system and interconnecting non-synchronous resources and are not specific
         to the project’s interconnection.”); Sw. Power Pool, Inc., 128 FERC ¶ 61,191, at P 21
         (2009) (finding that SPP had not fully explained what made an interconnection unique
         or identified the operational concerns or other reasons that necessitated the inclusion of
         non-conforming provisions in a GIA to allow for interim interconnection service, but
         finding that if SPP chose to provide such service, it should be made available through a
         pro forma agreement); MidAmerican Energy Co., 116 FERC ¶ 61,018, at P 12 (2006)
         (rejecting non-conforming provision involving an insurance requirement and explaining
         that “these benefits [associated with the proposed provision] should be made available
         to all interconnection customers in a transparent, non-discriminatory manner so that
         MidAmerican cannot favor Pomeroy Wind over the rest of MidAmerican’s customers”);
         see also PJM Interconnection, L.L.C., 188 FERC ¶ 61,206, at P 41 (2024) (“However, we
         find that PJM has failed to meet the necessary standard because PJM has failed to show
         that MAIT and Mon Power are unique in signing both the Consolidated Transmission
         Owners Agreement and Designated Entity Agreements.”).
               238
                     See PJM Guidance Document at 2 (“If the co-located load is not PJM Network
         Load . . . .”) (emphasis in original); id. at 3 (“If the protection schemes were to fail
         (which they should not), PJM will assess the settlements and compliance implications for
         any such unexpected withdrawal in coordination with the Transmission Owner and local
         Electric Distribution Company.”); id. (“If the co-located load configuration allows for a
         back-up Generation Capacity Resource(s) to serve the co-located load, then that back-up
         Generation Capacity Resource(s) must fulfill its obligations as a PJM Generation
         Capacity Resource, for which CIRs/capacity value exist, including providing energy
         to the PJM system when needed and meeting the capacity and energy must-offer
         requirement. To the extent this obligation cannot be met, the back-up Generation
         Capacity Resource may be subject to Capacity Resource Deficiency Charges and/or
         Non-Performance Charges based on its obligation.”); id. at 3-4 (“Coordination with PJM
         Operations and the local Transmission Owner for both unplanned and planned outages of
         the co-located Customer Facility is required before the back-up Generation Capacity
         Resource or Energy Resource can serve the co-located load. To request the utilization of
         a back-up Generation Capacity Resource or Energy Resource to serve the co-located
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         pursuing similar arrangements wherein a large load co-locates with an existing
         generator.239 Therefore, we find that the proposed non-conforming provisions240 that
         mirror provisions that PJM has included in the PJM Guidance Document, do not meet
         the requisite standard.241

                This filing leaves multiple important questions unresolved. Nevertheless, given
         that we have already found that PJM has failed to meet its burden, as described above, we
         need not further opine on whether PJM has met that burden with regard to the proposed
         non-conforming provisions herein, or otherwise address the Amended ISA. Therefore,
         we decline to do so here.

                 The dissent disagrees with our finding, arguing that because the Amended ISA
         is the “first of its kind” it presents the sort of “specific reliability concerns, novel legal
         issues, and other unique factors” that justify accepting a non-conforming interconnection
         agreement.242 But the former is not necessarily evidence of the latter, and the dissent
         does not explain why it believes the Commission erred in its application of the legal
         standard that governs the issue before us. Additionally, the dissent’s statement that
         provisions of the PJM Guidance Document may not apply to every co-location


         load, the owner of the Generation Capacity Resource or Energy Resource must submit an
         outage in eDART with proper cause code of “co-located load” for the period of service to
         the co-located Customer Facility. If the request is authorized by PJM, the outage of the
         co-located Customer Facility will be approved. If the request is not authorized, the outage
         will be denied and it is not acceptable to claim an outage or divert the MWs from the
         back-up Generation Capacity Resource or Energy Resource to the co-located load.”); id.
         at 4 (“Co-located load is not equivalent to Station Power load.”); id. at 5 (addressing
         procedures for planned modifications to the co-located Customer Facility).
                239
                      Deficiency Response at 20-21.
                240
                   Amended ISA, Schedule F, Part C.2 (back-up unit that is a Generation
         Capacity Resource), Part D.2 (coordination in the event of outages), Part D.3 (procedures
         to use back-up unit), Part F.1 (station power), Part F.4 (“Co-Located Load is not
         Network Load . . . .” and assessing of settlements if power flows from Interconnected
         Transmission Owner’s facilities to the facilities of the Co-Located Load), Part F.5
         (requiring compliance with Appendix 2, section 3 of the ISA to pursue additional
         planned modifications).
                241
                      See supra P 86.
                242
                    See PJM Interconnection, L.L.C., [XXX] FERC ¶ 61,[XXX], at P 1 (2024)
         (Phillips, Chairman, dissenting).
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         agreement243 does not mean that the provisions are not generally applicable. The dissent
         makes generalized claims about alleged adverse impacts that the order will have on
         reliability and national security,244 but offers no details about how the order will impinge
         on either. Reliability and national security are, of course, central to the Commission’s
         mission, but the generalized concerns highlighted by the dissent do not undermine our
         finding on the specific question before us that PJM has not demonstrated that the
         proposed non-conforming provisions in the Amended ISA are necessary deviations from
         the pro forma ISA. So we remain mindful of the “forest,”245 but in this context and on
         this record, we cannot conclude that the non-conforming provisions are necessary and
         otherwise meet the high standard for Commission approval.

         The Commission orders:

                The Amended ISA is hereby rejected, as discussed in the body of this order.

         By the Commission. Chairman Phillips is dissenting with a separate statement attached.
                            Commissioner Christie is concurring with a separate statement
                            attached.
                            Commissioner Rosner is not participating.
                            Commissioner Chang is not participating.

         (SEAL)



                                                          Carlos D. Clay,
                                                     Acting Deputy Secretary.




                243
                      See id. n.1.
                244
                      See generally id. PP 1-6.
                245
                      See id. P 6.
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                                 UNITED STATES OF AMERICA
                          FEDERAL ENERGY REGULATORY COMMISSION

         PJM Interconnection, L.L.C.                               Docket Nos.     ER24-2172-000
                                                                                   ER24-2172-001

                                         (Issued November 1, 2024)

         PHILLIPS, Chairman, dissenting:
                 I respectfully dissent from today’s order because it is a step backward for both
         electric reliability and national security. The amended Interconnection Service
         Agreement among PJM, Susquehanna Nuclear, LLC and PPL (Amended ISA), represents
         a “first of its kind” co-located load configuration that presents precisely the sort of
         specific reliability concerns, novel legal issues, and other unique factors that should have
         justified the filing of a non-conforming interconnection agreement.1 I would have
         accepted the Amended ISA and also required PJM to submit regular informational filings
         to provide transparency into the arrangement’s operations over time, including certain of
         the issues in dispute, such as back-up service. That approach would also have allowed
         PJM to go through a further stakeholder process for tariff revisions and decide on generic
         next steps regarding these important issues in the months ahead.2 In failing to accept the
         agreement, we are rejecting protections that the interconnected transmission owner says

                1
                  Although the Commission generally requires transmission providers to offer their
         customers interconnection service consistent with the pro forma LGIP and LGIA, the
         Commission has recognized that there would be a small number of extraordinary
         interconnections that present unique factors, such as reliability concerns or novel legal
         issues, which justify non-conforming provisions. Midcontinent Indep. Sys. Operator,
         Inc., 177 FERC ¶ 61,233, at P 26 (2021); PJM Interconnection, L.L.C., 111 FERC
         ¶ 61,163, at P 10 (2005). Contrary to the assertions in today’s order, the existence of an
         informational Guidance Document related to co-located loads does not change the fact
         that non-conforming provisions of the Amended ISA are necessary to reflect the specific
         characteristics of this particular interconnection. There is no indication that the
         provisions of the Guidance Document the majority highlights will, or even should, apply
         to all co-located arrangements.
                2
                  Amended ISA, Schedule F, Part F, § 8 (“The provisions in this [ISA] are subject
         to change in accordance with Section 22.3 of Appendix 2 to this Agreement pursuant to
         Section 205 and Section 206 of the [FPA] and/or FERC’s rules and regulations
         thereunder, including but not limited to PJM’s right to assess in a non-discriminatory
         manner additional rates, terms or conditions which may include transmission or ancillary
         services charges.”).
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         will enhance reliability while also creating unnecessary roadblocks to an industry that is
         necessary for our national security.
                Electric reliability is the Commission’s job number one. And I believe that PJM
         addressed those issues comprehensively in its filing. PJM supports its application with a
         detailed analysis of the reliability implications of adding an incremental 180 MWs on top
         of the already-allowed-for 300 MWs, and concludes that up to 480 MWs, no transmission
         upgrades are required.3 In addition, the application adds several important, reliability-
         based belts and suspenders. Those include installing a protection scheme to ensure that
         the Co-Located Load separates in the event of loss of generation output to ensure no
         power flows from transmission facilities to the Co-Located Load, providing certain
         generator shutdown and automatic tripping data to PPL, and notifying PJM and PPL in
         the event of any equipment malfunction. In short, I believe that these measures would
         have improved the reliability picture while also not prejudging future filings or
         foreclosing Commission flexibility in the future.
                Today’s order also creates a national security risk.4 There is a clear, bipartisan
         consensus that maintaining U.S. leadership in Artificial Intelligence (AI) is necessary to
         maintaining our national security. Maintaining our nation’s leadership in this “era-
         defining” technology will require a massive and unprecedented investment in the data
         centers necessary to develop and operate those AI models.5 And make no mistake:

                3
                  PJM’s necessary study concludes that no transfer above 480 MW would be
         allowed until Susquehanna makes upgrades to mitigate generation deliverability
         violations. See PJM Transmittal at 5-6.
                4
                  Constellation and Vistra Answer at 3 (“The corresponding technological
         advancement [driving data center growth] is critical to America’s competitiveness and
         our national security and thus building out our digital infrastructure has been a focus at
         both the federal and state levels.”); id. at 4 (“National security experts warn ‘as global
         powers vie for technological supremacy, the United States faces a critical challenge: to
         lead in AI or risk falling behind in a domain crucial to future conflicts and international
         competition.’”).
                5
                  Memorandum on Advancing the United States’ Leadership in Artificial
         Intelligence; Harnessing Artificial Intelligence to Fulfill National Security Objectives;
         and Fostering the Safety, Security, and Trustworthiness of Artificial Intelligence, THE
         WHITE HOUSE (Oct. 24, 2024), available at https://www.whitehouse.gov/briefing-
         room/presidential-actions/2024/10/24/memorandum-on-advancing-the-united-states-
         leadership-in-artificial-intelligence-harnessing-artificial-intelligence-to-fulfill-national-
         security-objectives-and-fostering-the-safety-
         security/#:~:text=Leadership%20in%20responsible%20AI%20development,growth%2C
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         access to reliable electricity is the lifeblood of those data centers. I am deeply concerned
         that in failing to demonstrate regulatory leadership and flexibility we are putting at risk
         our country’s pole position on this critically important issue. That is simply
         unacceptable.
                I do not mean to suggest that these issues are easy. To the contrary, they are
         complex and require us to wrestle with a host of challenging, multifaceted issues. That is
         why we held a technical conference today, to build a record on how the Commission
         should address similar issues going forward. But the technical conference casts a far
         wider net than the matter that is before us today and was never intended to defer
         judgment on this application, which I believe has thoughtfully and creatively addressed
         the factors that justify approval of these non-conforming provisions.
                As always, I am particularly concerned about issues of affordability, particularly
         ensuring that data centers, like every other customer, pay their fair share of the costs of
         maintaining a reliable electric grid. To that end, I believe it is important to continue
         considering these issues, including co-location’s implications for the transmission system
         and the provision of ancillary services, both before this Commission and in the PJM
         stakeholder process. In addition, as a former state regulator, I will be similarly focused
         on working with our state partners to address the issues that lie at the confluence of
         federal and state jurisdiction. But I do not believe that any of those issues, as important
         as they are for further consideration, justify the Commission’s rejection of the Amended
         ISA.
                 At the end of the day, I am concerned that the arguments the Commission relies on
         to reject the Amended ISA lead it to miss the forest for the trees. We are on the cusp of a
         new phase in the energy transition, one that is characterized as much by soaring energy
         demand, due in large part to AI, as it is by rapid changes in the resource mix. Ensuring
         reliable and affordable supplies of electricity throughout the coming period of increasing
         demand and changing supply will require pragmatic leadership that facilitates that
         transition. If we instead throw up roadblocks to that transition, as I am concerned today’s
         order does, we will only deprive our country of the resources needed to ensure our
         continued economic prosperity and national security.



         %20and%20avoiding%20strategic%20surprise (last visited Oct. 30, 2024); Readout of
         White House Roundtable on U.S. Leadership in AI Infrastructure, THE WHITE HOUSE
         (Sept. 12, 2024), available at https://www.whitehouse.gov/briefing-room/statements-
         releases/2024/09/12/readout-of-white-house-roundtable-on-u-s-leadership-in-ai-
         infrastructure/ (last visited Oct. 30, 2024).
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               For these reasons, I respectfully dissent.

                      ________________________

                      Willie Phillips

                      Chairman
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                                 UNITED STATES OF AMERICA
                          FEDERAL ENERGY REGULATORY COMMISSION

         PJM Interconnection, L.L.C.                               Docket Nos.      ER24-2172-000
                                                                                    ER24-2172-001


                                         (Issued November 1, 2024)

         CHRISTIE, Commissioner, concurring:

                 I join this order because PJM has failed to meet its burden of proof on this record.
         I emphasize that PJM’s filing is rejected without prejudice. Speaking for myself, I have
         an open mind about the many serious issues pertinent not just to this particular proposal,
         but also to the issues that may be relevant to other co-location proposals. The specific
         co-location arrangement proposed here may make sense and be acceptable under the
         Federal Power Act, but on this record that claim simply has not been proven. I concur to
         make the following points.

               Co-location arrangements of the type presented here present an array of
         complicated, nuanced and multifaceted issues, which collectively could have huge
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         ramifications for both grid reliability1 and consumer costs.2 Indeed, this Commission has
         already acknowledged the importance and complexities of these issues, which is why we

                1
                   See, e.g., Independent Market Monitor for PJM’s (Market Monitor) Answer at 7
         (“The Commission’s decision in this matter, while framed as a narrow issue by Talen,
         has extremely large significance for the future of PJM markets. PJM has not explained
         how it plans to meet expected increases in the demand for power, given ongoing
         generator retirements, even without removing multiple large base load units from the
         system. PJM’s latest reliability report and PJM’s RTEP do not address the potential
         significant changes that would result from reliance on the proposed ISA as a precedent.
         While it is understandable that the recent reports do not address these issues, the
         nonconforming ISA should not be approved without such analysis and a stakeholder
         review process and a consideration of the facts by the Commission.” (emphasis added));
         id. at 2 (“PJM has made a series of critical policy decisions that are embedded in this ISA
         involving, among other things, how backup power is handled, that are very different from
         positions that PJM has previously taken on related matters in the stakeholder process.
         These issues require stakeholder discussion and tariff changes. How will load be met if
         multiple base load generators are effectively removed from the market? What will the
         impact be on power flows given that the grid is built in significant part to deliver nuclear
         energy to load? What will be the impact on energy prices and capacity prices?”
         (emphasis added)); id. at 6-7 (while explaining the impact of accepting the ISA and
         applying it to all nuclear facilities in PJM, the Market Monitor states: “[e]stablishing this
         precedent would undermine PJM reliability and PJM competitive markets.” (emphasis
         added) (footnote omitted)).
                2
                   See, e.g., id. at 6-7 (“While the proposed amendment to the ISA is creative, its
         benefits to the co-located load come at the expense of other customers in the PJM
         markets. If this approach were extended to all the nuclear plants in PJM, the impact on
         the PJM grid and markets would be extreme. Power flows on the grid that was built in
         significant part to deliver low cost nuclear energy to load would change significantly.
         Energy prices would increase significantly as low cost nuclear energy is displaced by
         higher cost energy on the overall supply curve. Capacity prices would increase as the
         supply of capacity to the market is reduced. Emissions would also be expected to
         increase as thermal resources that are next in the supply curve are dispatched to meet
         load to replace the nuclear energy. Establishing this precedent would undermine PJM
         reliability and PJM competitive markets.” (emphasis added) (footnote omitted)). The
         various filings by Exelon and AEP in this docket also allege that up to $140 million
         dollars per year will be cost-shifted to customers as a result of the ISA arrangement and
         that assets ratepayers have already paid for will be used to benefit the arrangement in the
         form of back-up service. See, e.g., Order at P 24; Exelon and AEP July 17, 2024 Answer
         at 23 (“We know that a unit at this facility had an unplanned outage in November 2023,
         and it appears no load was dropped—suggesting that the load just relied on PJM for its
         supply. The same would, in effect, happen again if the other Susquehanna unit simply
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         held a technical conference to explore them.3 That technical conference was timely and
         necessary, as these co-location arrangements are a fairly new phenomenon that entails
         huge ramifications for grid reliability and consumer costs.4 Given these ramifications,
         the Commission truly needs to “get it right” when it comes to evaluating co-location
         issues.

                And make no mistake. Were we to approve this proposal at this time, as the
         dissent advocates, we would be setting a precedent that would be used to justify identical
         or similar arrangements in future cases. Further, to claim, as the dissent does, that failure
         to approve this specific proposal at this specific time endangers “reliability,” and even
         “national security,”5 is simply unproven on this record.

                For these reasons, I respectfully concur.



         ______________________________
         Mark C. Christie
         Commissioner




         ‘stepped in’—the rest of the system would lose that resource, one that the ratepayers have
         already paid for.” (footnote omitted)).
                3
               Large Loads Co-Located at Generating Facilities, Fourth Supplemental Notice
         of Commissioner-Led Technical Conference, Docket No. AD24-11-000 (Oct. 24, 2024).
                4
                  To be clear, the fact this Commission convened a technical conference generally
         on the many issues implicated in co-location arrangements does not change the record in
         this proceeding, nor is it a reason to approve or disapprove this specific proposal, which
         must be decided on the record herein.
                5
                    Dissent at PP 1-4 and passim.
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                                      189 FERC ¶ 62,132
                                 UNITED STATES OF AMERICA
                          FEDERAL ENERGY REGULATORY COMMISSION

         PJM Interconnection, L.L.C.                                   Docket No. ER24-2172-002

               NOTICE OF DENIAL OF REHEARING BY OPERATION OF LAW AND
                        PROVIDING FOR FURTHER CONSIDERATION

                                            (December 23, 2024)

                Rehearing has been timely requested of the Commission’s order issued on
         November 1, 2024, in this proceeding. PJM Interconnection, L.L.C., 189 FERC ¶ 61,078
         (2024). In the absence of Commission action on a request for rehearing within 30 days
         from the date it is filed, the request for rehearing may be deemed to have been denied.
         16 U.S.C. § 825l(a); 18 C.F.R. § 385.713 (2024); Allegheny Def. Project v. FERC,
         964 F.3d 1 (D.C. Cir. 2020) (en banc).

                As provided in 16 U.S.C. § 825l(a), the request for rehearing of the above-cited
         order filed in this proceeding will be addressed in a future order to be issued consistent
         with the requirements of such section. As also provided in 16 U.S.C. § 825l(a), the
         Commission may modify or set aside its above-cited order, in whole or in part, in such
         manner as it shall deem proper.



                                                        Debbie-Anne A. Reese,
                                                              Secretary.
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                                        191 FERC ¶ 61,025
                                   UNITED STATES OF AMERICA
                            FEDERAL ENERGY REGULATORY COMMISSION


         Before Commissioners: Mark C. Christie, Chairman;
                               Willie L. Phillips, and Lindsay S. See.

         PJM Interconnection, L.L.C.                                  Docket No. ER24-2172-002

              ORDER ADDRESSING ARGUMENTS ON REHEARING AND GRANTING
                              CLARIFICATION, IN PART

                                            (Issued April 10, 2025)

                On November 1, 2024, the Commission, pursuant to section 205 of the Federal
         Power Act (FPA),1 issued an order rejecting an amended Interconnection Service
         Agreement (ISA) among PJM Interconnection, L.L.C. (PJM), Susquehanna Nuclear,
         LLC (Susquehanna), and PPL Electric Utilities Corporation (PPL) (Amended ISA).2 On
         November 20, 2024, Susquehanna timely filed a request for rehearing of the Rejection
         Order. On December 2, 2024, Vistra Corp. (Vistra) filed a motion for clarification of the
         Rejection Order.

                 Pursuant to Allegheny Defense Project v. FERC,3 the rehearing request filed
         in this proceeding may be deemed denied by operation of law. However, as permitted
         by section 313(a) of the Federal Power Act,4 we are modifying the discussion in the




                1
                    16 U.S.C. § 824d.
                2
                    PJM Interconnection, L.L.C., 189 FERC ¶ 61,078 (2024) (Rejection Order).
                3
                    964 F.3d 1 (D.C. Cir. 2020) (en banc).
                4
                  16 U.S.C. § 825l(a) (“Until the record in a proceeding shall have been filed in a
         court of appeals, as provided in subsection (b), the Commission may at any time, upon
         reasonable notice and in such manner as it shall deem proper, modify or set aside, in
         whole or in part, any finding or order made or issued by it under the provisions of this
         chapter.”).
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         Rejection Order, granting clarification in part, and we continue to reach the same result
         in this proceeding, as discussed below.5

         I.     Background

                A.     Order No. 2003

                 In Order No. 2003, the Commission required all public utilities that own, control,
         or operate facilities used for transmitting electric energy in interstate commerce to have
         on file standard procedures and a standard agreement for interconnecting generating
         facilities larger than 20 MW.6 Order No. 2003 requires interconnection agreements that
         do not conform to the transmission provider’s pro forma interconnection agreement to be
         filed with the Commission, and the transmission provider is required to explain its
         justification for each non-conforming provision.7 The Commission has recognized that
         there would be a small number of extraordinary interconnections that would call for the
         filing of a non-conforming interconnection agreement.8 The Commission has explained
         that non-conforming agreements may be permissible for interconnections with specific
         reliability concerns, novel legal issues, or other unique factors.9 A “transmission

                5
                Allegheny Def. Project, 964 F.3d at 16-17. The Commission is not changing the
         outcome of the Rejection Order. See Smith Lake Improvement & Stakeholders Ass’n v.
         FERC, 809 F.3d 55, 56-57 (D.C. Cir. 2015).
                6
                  Standardization of Generator Interconnection Agreements & Procs., Order
         No. 2003, 104 FERC ¶ 61,103, at P 1 (2003), order on reh’g, Order No. 2003-A, 106
         FERC ¶ 61,220, order on reh’g, Order No. 2003-B, 109 FERC ¶ 61,287 (2004), order on
         reh’g, Order No. 2003-C, 111 FERC ¶ 61,401 (2005), aff’d sub nom. Nat’l Ass’n of
         Regul. Util. Comm’rs v. FERC, 475 F.3d 1277 (D.C. Cir. 2007); see also PJM
         Interconnection, L.L.C., 111 FERC ¶ 61,163, at P 9 (2005) (“[U]se of pro
         forma documents ensures that Interconnection Customers … are receiving non-
         discriminatory service and that all Interconnection Customers are treated on a consistent
         and fair basis.”).
                7
                   Order No. 2003-B, 109 FERC ¶ 61,287 at P 140 (“[E]ach Transmission Provider
         submitting a non-conforming agreement for Commission approval must explain its
         justification for each nonconforming provision . . . .”); see also PJM Interconnection,
         L.L.C., 186 FERC ¶ 61,160, at P 85 (2024).
                8
                Midcontinent Indep. Sys. Operator, Inc., 177 FERC ¶ 61,233, at P 26 (2021);
         PJM Interconnection, L.L.C., 111 FERC ¶ 61,163 at P 10 (citing Order No. 2003, 104
         FERC ¶ 61,103 at PP 913-15; Order No. 2003-B, 109 FERC ¶ 61,287 at P 140).
                9
                 See, e.g., Midcontinent Indep. Sys. Operator, Inc., 182 FERC ¶ 61,179, at P 15
         (2023); Sw. Power Pool, Inc., 133 FERC ¶ 61,084, at P 6 (2010); Sw. Power Pool, Inc.,
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         provider seeking a case-specific deviation from its pro forma interconnection agreement
         bears a high burden to justify and explain that its changes are not merely ‘consistent with
         or superior to’ the pro forma agreement, but are necessary changes.”10

                B.        Amended ISA

                 On June 3, 2024, as amended on September 3, 2024, PJM filed the Amended ISA
         to increase the amount of Co-Located Load at the Susquehanna facility (Susquehanna
         Customer Facility) from 300 megawatts (MW) to 480 MW and to make revisions related
         to the treatment of this Co-Located Load.11 PJM stated that the proposed non-
         conforming provisions to the Amended ISA were necessary to support reliable system
         operations and clarify expectations for conduct, as well as clarify rights and obligations.12
         PJM stated that the Amended ISA reflects substantial revisions to address issues related
         to the treatment of Co-Located Load, including additional markets, operational, planning,
         and other terms and conditions.13 For example, PJM stated that the Amended ISA
         contains a new section addressing the use of a back-up unit at the facility to transfer
         power to the transmission facilities of the Co-Located Load.14 PJM averred that the
         Amended ISA contains new sections that require coordination for outages at the
         Susquehanna Customer Facility before use of a back-up generating unit, and that
         establish certain steps and limits on use of a back-up generating unit.15 PJM stated that
         the Amended ISA includes terms and conditions newly defining that Co-Located Load is



         132 FERC ¶ 61,062, at P 3 (2010); Midwest Indep. Transmission Sys. Operator, Inc.,
         131 FERC ¶ 61,199, at P 5 (2010).
                10
                  Renewable World Energies, LLC, 176 FERC ¶ 61,140, at P 20 (2021) (emphasis
         added); Sw. Power Pool, Inc., 133 FERC ¶ 61,084 at P 6 (emphasis added); Sw. Power
         Pool, Inc., 132 FERC ¶ 61,062 at P 3 (emphasis added); see, e.g., Midcontinent Indep.
         Sys. Operator, Inc., 187 FERC ¶ 61,182, at P 9 (2024); PJM Interconnection, L.L.C., 111
         FERC ¶ 61,163 at P 18.
                11
                  Transmittal at 5. The Susquehanna Customer Facility is a 2,520 MW nuclear
         generating facility located in Luzerne County, Pennsylvania, which consists of two 1,260
         MW units interconnected to the PJM transmission system. Id. at 13-14.
                12
                     Id. at 13-14.
                13
                     Id. at 5.
                14
                     Id. at 7-8 (citing Amended ISA, Schedule F, pt. C.2).
                15
                     Id. at 9 (citing Amended ISA, Schedule F, pts. D.2, D.3).
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         not Station Power Load or Network Load.16 PJM also noted that the Amended ISA avers
         that the Co-Located Load is not intended to consume capacity and/or energy from the
         PJM transmission system, but the Amended ISA identifies potential steps if power flows
         from the PJM transmission system and PPL facilities to the facilities of the Co-Located
         Load.17 PJM stated that the Amended ISA requires Susquehanna to comply with planned
         modifications provisions for certain future additions of Co-Located Load.18

               C.       Rejection Order

                 In rejecting the Amended ISA, the Commission found that PJM did not
         demonstrate that the proposed non-conforming provisions in the Amended ISA are
         necessary deviations from the pro forma ISA due to specific reliability concerns, novel
         legal issues, or other unique factors.19 For example, the Commission explained that
         significant aspects of the proposed non-conforming provisions rely heavily on a generally
         applicable document, the PJM Guidance Document.20 The Commission reasoned that
         this reliance raises the question of whether PJM intends to offer these terms to all
         similarly situated interconnection customers.21 The Commission concluded that these
         proposed provisions derived from the guidance document demonstrate that PJM did not
         meet its burden to show these provisions are necessary for any interest unique to the
         interconnection of the Susquehanna Customer Facility.22 The Commission noted that the

               16
                    Id. at 10-11 (citing Amended ISA, Schedule F, pts. F.1, F.4).
               17
                    Id. at 11 (citing Amended ISA, Schedule F, pt. F.4).
               18
                    Id. (citing Amended ISA, Schedule F, pt. F.5).
               19
                   Rejection Order, 189 FERC ¶ 61,078 at P 85; see id. P 87 (“find[ing] PJM has
         failed to meet the high burden to demonstrate the non-conforming provisions are
         necessary”).
               20
                  Id. P 87; see id. P 87 n.236 (noting that the Commission is making no
         determination on the justness and reasonableness of the PJM Guidance Document). See
         PJM, Co-Located Load Guidance (2024) (PJM Guidance Document), pjm-guidance-on-
         co-located-load.ashx.
               21
                  Rejection Order, 189 FERC ¶ 61,078 at P 87 (citing El Paso Elec. Co., 180
         FERC ¶ 61,127, at P 20 (2022); Sw. Power Pool, Inc., 128 FERC ¶ 61,191, at P 21
         (2009) (SPP); MidAmerican Energy Co., 116 FERC ¶ 61,018, at P 12 (2006)
         (MidAmerican); Energy Mgmt. Solutions, L.L.C. v. PJM Interconnection, L.L.C., 188
         FERC ¶ 61,206, at P 41 (2024) (PJM Interconnection)).
               22
                    Id. P 87 (citing PJM Guidance Document at 2-5).
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         record indicates that other parties are interested in pursuing similar arrangements wherein
         a large load co-locates with an existing generator.23 The Commission found that the
         proposed non-conforming provisions24 that mirror provisions that PJM included in the
         PJM Guidance Document do not meet the requisite standard.25

                The Commission also stated that PJM’s filing leaves multiple important questions
         unresolved.26 However, the Commission explained that, because it had already found
         that PJM did not meet its burden due to the non-conforming terms’ reliance on a
         generally applicable document, the Commission need not further opine on whether PJM
         met that burden regarding other proposed non-conforming provisions or otherwise
         address the Amended ISA.27

         II.    Discussion

                A.         Rehearing Request

                Susquehanna contends that the Rejection Order failed to apply the correct legal
         standard, to address record evidence that shows the Amended ISA satisfies this standard,
         and to reasonably explain its ultimate conclusion.28

                Susquehanna avers that the Rejection Order applies a new “unique interest” legal
         standard, rejecting the Amended ISA because certain of its provisions might be similar to
         provisions that other market participants might hypothetically seek to employ in future
         cases.29 Susquehanna maintains that the Rejection Order wrongly suggests that the
         Commission can decline to analyze whether unique factors apply to a particular
         agreement and instead reject a proposal because a non-conforming provision potentially
         applies to a future agreement.30 Susquehanna argues that the Commission has approved


                23
                     Id. P 87 (citing Deficiency Response at 20-21)
                24
                     Id. P 87 (citing Amended ISA, Schedule F, pts. C.2, D.2, D.3, F.1, F.4, F.5).
                25
                     See supra P 3.
                26
                     Rejection Order, 189 FERC ¶ 61,078 at P 88.
                27
                     Id.
                28
                     Rehearing Request at 7.
                29
                     Id. at 8.
                30
                     Id. at 9-10.
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         non-conforming provisions even where they were potentially replicable in other
         agreements. For example, Susquehanna contends that, in Pacific Gas and Electric
         Company, the Commission approved non-conforming generator interconnection
         agreement provisions because of unique circumstances, even though a third party was
         interested in the same provisions.31 Susquehanna argues that PG&E shows that unique
         means unusual, whereas the Rejection Order suggests the standard of uniqueness means
         “novel in an absolute and permanent sense.”32 Susquehanna further argues that the
         Rejection Order is inconsistent with precedent because the Commission has accepted
         non-conforming provisions where such provisions have previously been presented to and
         approved by the Commission33 and where such provisions were highly likely to apply to
         other parties.34 Susquehanna also suggests that, consistent with precedent, the
         Commission could have encouraged the transmission provider to amend its pro forma
         agreement once a “pattern” of filings was established, but Susquehanna asserts that no
         such pattern yet exists here.35

                 Susquehanna next argues that the Commission’s reasons for rejecting the
         Amended ISA in the Rejection Order are contrary to the intent of the necessary
         standard.36 Susquehanna explains that the Commission created the necessary standard to
         recognize non-standard arrangements while protecting against discrimination or
         favoritism by transmission providers.37 Susquehanna argues that, because the Rejection
         Order rejected the non-conforming provisions in the Amended ISA based on what
         Susquehanna views as speculative concerns that the provisions may be replicable, the
         transmission provider’s tariff should be changed to adopt those provisions, including in
         the pro forma agreement. Susquehanna contends that a stakeholder process is required to
         initiate that tariff change in a Regional Transmission Organization/Independent System
         Operator region, and practically speaking, the transmission providers will prevail in that

               31
                  Id. at 10-11 (citing Pacific Gas & Elec. Co., 128 FERC ¶ 61,175, at PP 16, 20
         (2009) (PG&E)).
               32
                    Id. at 11.
               33
                  Id. at 12 (citing Midcontinent Indep. Sys. Operator, Inc., 155 FERC ¶ 61,286, at
         P 22 (2016)).
               34
                  Id. (citing Midwest Indep. Transmission Sys. Operator, Inc., 115 FERC
         ¶ 61,024, at PP 10-12 (2006)).
               35
                    Id. (quoting El Paso Elec. Co., 177 FERC ¶ 61,212, at P 26 (2021) (El Paso)).
               36
                    Id.
               37
                    Id. at 13.
                Case:
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         process. Thus, Susquehanna concludes, the Rejection Order “indirectly confers power
         and control on the very entities from which the original [necessary] standard sought to
         constrain.”38

                Susquehanna argues that the Rejection Order ignores ample record evidence that
         shows the non-conforming provisions in the Amended ISA are necessary, including
         PJM’s September 3, 2024 response to Commission staff’s deficiency letter (Deficiency
         Response).39 Susquehanna contends that the Rejection Order is conclusory in finding
         that certain non-conforming provisions do not meet the necessary standard because they
         mirror the PJM Guidance Document and that the Commission’s reliance on this
         document, which is not in the record, is misplaced.40 Susquehanna asserts that the
         Rejection Order does not explain why the provisions mirroring the PJM Guidance
         Document are not still necessary due to unique factors in the Amended ISA.
         Susquehanna also argues that the Rejection Order never addresses the other non-
         conforming provisions in the Amended ISA that do not mirror the Guidance Document.41

                Susquehanna argues that the Commission should have accepted the Amended ISA
         under the necessary standard, as the Commission has approved deviations needed to
         address a class of entities not reflected in a pro forma agreement.42 For example,
         Susquehanna references non-conforming interconnection agreements with merchant
         transmission developers, and contends that the Commission accepted these agreements
         because they presented a unique scenario.43 However, Susquehanna argues that the
         Commission knew that additional merchant transmission facilities would be built and
         have a similar interest in the non-conforming provisions under Commission review.
         Susquehanna believes that the same logic applies to the Amended ISA.

                Susquehanna argues that the Commission has previously allowed deviations from
         a pro forma agreement when a proceeding represents the first time a particular class of


               38
                    Id. at 14.
               39
                 Id. at 14-15 (citing Transmittal at 4-15; Deficiency Response at 7-24;
         Susquehanna Deficiency Response Comments at 11-13).
               40
                    Id. at 15-16.
               41
                    Id. at 16.
               42
                    Id. at 17.
               43
                  Id. (citing N.Y. Indep. Sys. Operator, Inc., 180 FERC ¶ 61,105, at P 10 (2022);
         N.Y. Indep. Sys. Operator, Inc., 184 FERC ¶ 61,001, at P 8 (2023)).
                Case:
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         issues arises.44 Moreover, Susquehanna explains, the Commission can disallow similar
         deviations in future cases where the issue recurs or results in numerous filings of non-
         conforming agreements. For example, Susquehanna argues that in El Paso Electric
         Company, one of the cases relied upon in the Rejection Order, the Commission
         concluded that non-conforming provisions “broadly apply to non-synchronous generators
         interconnecting to its systems” and thus could not satisfy the necessary standard.45
         Susquehanna emphasizes that the Commission in El Paso reached this conclusion only
         after accepting the non-conforming language five times. Susquehanna argues that the
         Commission did not properly follow this precedent, under which it should have accepted
         the Amended ISA as the first instance in which the Commission reviewed such non-
         conforming language relating to co-located load.46 Susquehanna maintains that each of
         the other orders that the Commission relied upon likewise supports accepting the
         Amended ISA.47 For example, Susquehanna notes that in MidAmerican Energy
         Company, the Commission rejected certain proposed non-conforming provisions, but did
         not reject the agreement altogether, and argues that it would have “been reasonable” for
         the Commission to take a similar approach here.48

                Susquehanna argues that, even if the Commission believes that the pro forma ISA
         must be amended to address co-location, non-conforming provisions will still be
         necessary for each co-located data center arrangement.49 Susquehanna avers that the
         Commission erred by concluding that the PJM Guidance Document suggests that every
         co-location ISA will conform to a pro forma agreement.




               44
                    Id.
               45
                    Id. at 18 (quoting El Paso 177 FERC ¶ 61,212 at P 26).
               46
                    Id. at 18-19.
               47
                  Id. at 18-20 (citing El Paso Elec. Co., 180 FERC ¶ 61,127; SPP, 128 FERC
         ¶ 61,191; MidAmerican, 116 FERC ¶ 61,018; Midwest Indep. Transmission Sys.
         Operator, Inc., 115 FERC ¶ 61,024; PJM Interconnection, L.L.C., 188 FERC ¶ 61,206
         (2024)).
               48
                    Id. at 19-20 (citing MidAmerican, 116 FERC ¶ 61,018 at P 14).
               49
                    Id. at 19.
                Case:
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                 \Susquehanna also claims that the Rejection Order suggests that the outcome may
         have been influenced by concerns about whether the Co-Located Load pays for any
         services it may use.50 Susquehanna argues that, if such concern influenced the
         Commission’s decision, then the Commission ignored that the Amended ISA addresses
         this issue. Susquehanna points to, for example, the provision in the Amended ISA that
         PJM will assess the settlement implications for unexpected withdrawals of power.51

                 Susquehanna argues that the Rejection Order ignores PJM’s conclusion that the
         Amended ISA would not have any adverse impact on reliability.52 Susquehanna
         recognizes that the Rejection Order does not explicitly refer to the necessary study PJM
         conducted in relation to the Amended ISA, but Susquehanna avers that concerns
         regarding reliability and resource adequacy “haunt” the order.53 Susquehanna contends
         that the Commission should have deferred to PJM on these issues. Susquehanna also
         argues that the Rejection Order is a disincentive for regional transmission operators to
         issue non-binding guidance documents. Finally, Susquehanna argues that the Rejection
         Order poses significant economic and national security risks.54

                B.        Motion for Clarification

                Vistra asks the Commission to clarify that the Rejection Order did not intend to
         impose a blanket limit on interconnection service to generators co-located with data
         centers or prevent the use of non-conforming interconnection agreements to obtain such
         service.55 Vistra argues that declining to grant clarification will significantly impair the
         development of critical data infrastructure needed for national security and economic
         growth.56

                Vistra asks the Commission to clarify that the Rejection Order does not prejudge
         other entities’ ability to negotiate non-conforming terms of interconnection service for

                50
                 Id. at 21 (quoting Rejection Order, 189 FERC ¶ 61,078 at P 88 (“multiple
         important questions [are] unresolved”)).
                51
                     Id. at 22 (citing Amended ISA, Schedule F, pt. F.4).
                52
                     Id. at 23.
                53
                     Id. at 24.
                54
                     Id. at 25-28.
                55
                     Motion for Clarification at 1.
                56
                     Id. at 1-2.
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         other co-location arrangements and submit them for Commission review.57 Vistra
         requests that, if the Commission determines that specific non-conforming provisions
         should not be included in the Amended ISA, then the Commission should identify those
         provisions and explain why it is inappropriate to include them, and Susquehanna may
         refile without those specific provisions.58 For example, Vistra notes that the Commission
         could clarify whether the Commission would have accepted the Amended ISA if it did
         not include the provisions identified in footnote 238 of the Rejection Order.59 Vistra
         asserts that the Rejection Order is silent on the intended scope of the determination in
         paragraphs 87 and 88 and its implications beyond this docket for other generator
         interconnections involving co-located data centers. Vistra expresses concern that the
         Rejection Order could be interpreted such that the Commission will not accept an
         amended non-conforming interconnection agreement for a co-location arrangement until
         the PJM tariff has generally applicable terms and conditions like the Guidance
         Document.60 Vistra avers that such an interpretation is unfounded and, if it were the
         Commission’s intent, then the Rejection Order would violate the FPA and Administrative
         Procedure Act. Vistra argues that the Commission cannot decline to apply FPA section
         205 or implicitly find the PJM tariff unjust and unreasonable when reviewing a non-
         conforming interconnection agreement.

                Vistra also argues that the Commission should clarify that the necessary standard
         serves only to identify whether it is procedurally appropriate to execute a pro forma
         agreement or file a non-conforming agreement.61 Vistra contends that the Commission
         must clarify that the necessary standard does not replace the statutory standard in FPA
         section 205 and does not act as a barrier to obtaining interconnection service where the
         agreement implicates a generally applicable document.

                Vistra requests that, if the Commission identifies broader issues that could impact
         co-location arrangements, then the Commission should consider issuing a policy
         statement outside of this proceeding.62 Vistra requests that, if the Commission otherwise

                57
                     Id. at 2.
                58
                     Id. at 3.
                59
                  Id. at 4 n.8; see Rejection Order, 189 FERC ¶ 61,078 at P 87 n.238 (identifying
         provisions on pages 2 through 5 of the PJM Guidance Document that mirror provisions in
         the Amended ISA).
                60
                     Motion for Clarification at 4.
                61
                     Id. at 5.
                62
                     Id. at 5-6.
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         concludes that certain terms of interconnection service are not acceptable in non-
         conforming agreements, then the Commission should initiate a sua sponte FPA section
         20663 proceeding, institute a paper hearing, and direct reforms to the PJM tariff to
         accommodate the interconnection service needs of generators with co-located data
         centers.64

               C.       Determination

                        1.     Procedural Matters

                 On December 16, 2024, Exelon Corporation (Exelon), on behalf of its
         subsidiaries,65 and American Electric Power Service Corporation (AEP), on behalf of its
         affiliates,66 filed a motion for leave to answer and answer the rehearing request. Rule
         713(d)(1) of the Commission’s Rules of Practice and Procedure prohibits an answer to a
         request for rehearing.67 Accordingly, we deny the motion to answer the rehearing request
         and reject the answer.68

                        2.     Substantive Matters

               We sustain the result of the Rejection Order. We continue to find that PJM has
         not demonstrated that the proposed non-conforming provisions in the Amended ISA are


               63
                    16 U.S.C. § 824e.
               64
                    Motion for Clarification at 6.
               65
                Exelon’s subsidiaries are Atlantic City Electric, Baltimore Gas and Electric
         Company, Commonwealth Edison, Delmarva Power and Light Company, PECO Energy
         Company, and Potomac Electric Power Company.
               66
                 AEP’s affiliates are Appalachian Power Company, Indiana Michigan Power
         Company, Kentucky Power Company, Kingsport Power Company, Ohio Power
         Company, Wheeling Power Company, AEP Appalachian Transmission Company, Inc.,
         AEP Indiana Michigan Transmission Company, Inc., AEP Kentucky Transmission
         Company, Inc., AEP Ohio Transmission Company, Inc., AEP West Virginia
         Transmission Company, Inc., and AEP Energy Partners.
               67
                    18 C.F.R. § 385.713(d)(1) (2024).
               68
                   On April 9, 2025, Talen Energy Corporation submitted a request that the
         Commission “issue an order as expeditiously as possible that substantively addresses all
         of the issues raised” in Susquehanna’s rehearing request.
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         necessary deviations from the pro forma ISA due to specific reliability concerns, novel
         legal issues, or other unique factors.

                 Susquehanna does not dispute that PJM must demonstrate that the non-conforming
         terms in the Amended ISA are necessary, nor does it dispute that the necessary showing
         requires a demonstration that the interconnection raises specific reliability concerns,
         novel legal issues, or other unique factors. Nonetheless, Susquehanna argues that the
         Rejection Order applied a new “unique interest” standard and rejected the Amended ISA
         “on the ground that certain of its provisions might be similar to provisions that other
         market participants might hypothetically seek to employ in future cases.”69 We disagree.
         Despite Susquehanna’s suggestion to the contrary, the Commission consistently evaluates
         uniqueness as an essential factor in applying the necessary standard.70 Applying this
         standard in the Rejection Order, the Commission focused on PJM’s failure to
         demonstrate specific reliability concerns, novel legal issues and unique factors. PJM’s
         failure to demonstrate specificity, novelty and uniqueness is evident through the
         Commission’s finding that “significant aspects of the proposed non-conforming
         provisions rely heavily on a generally applicable document.”71 Accordingly, the
         Commission correctly found that PJM did not meet the high burden to demonstrate that
         the non-conforming provisions were necessary to address the circumstances of this
         particular interconnection.



               69
                    Rehearing Request at 8.
               70
                    See, e.g., PJM Interconnection, 188 FERC ¶ 61,206 at PP 39-41 (“However, we
         find that PJM has failed to meet the necessary standard because PJM has failed to show
         that MAIT and Mon Power are unique in signing both the Consolidated Transmission
         Owners Agreement and Designated Entity Agreements.”); Midwest Indep. Transmission
         Sys. Operator, Inc., 141 FERC ¶ 61,203, at P 14 (2012) (“Here there are no unique or
         novel circumstances that warrant non-standard Crediting Provisions. This fact pattern is
         not unique, but would be repeated in any instance where a non-MISO interconnection
         causes a need for upgrades on a transmission system under the functional control of
         MISO.”); Midcontinent Indep. Sys. Operator, Inc., 188 FERC ¶ 61,220, at P 21 (2024)
         (“[W]e find that other small generating facilities could face the same circumstances, and
         thus the proposed non-conforming revisions do not address unique factors associated
         with this interconnection.”); Duke Energy Fla., LLC, 187 FERC ¶ 61,028, at P 19 (2024)
         (“In its filing, Duke did not explain how the proposed deviation from Duke’s pro forma
         LGIA may be necessary for specific reliability concerns, novel legal issues, or other
         unique factors. Therefore, Duke did not meet its burden to justify [the non-conforming
         change] . . . .”).
               71
                    Rejection Order, 189 FERC ¶ 61,078 at P 87.
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                 The Rejection Order’s finding is consistent with Commission precedent requiring
         the filing party to “explain[] the unique circumstances of the interconnection and why
         these circumstances necessitate the filing of a non-conforming interconnection
         agreement.”72 Susquehanna’s reliance on precedent such as PG&E is not persuasive. In
         PG&E, as in the instant case, the Commission reached its decision based on whether a
         unique factor necessitated non-conforming provisions.73 However, the records in these
         proceedings are distinguishable. For example, unlike in the instant case, the record in
         PG&E does not reflect that Pacific Gas and Electric Company (PG&E) proposed a non-
         conforming provision that relied heavily on a generally applicable document. We thus
         disagree with Susquehanna that the Commission would have had to reject PG&E’s non-
         conforming agreement based on the logic of the Rejection Order.

                We also disagree with Susquehanna that the Rejection Order contravened the
         intent of the necessary standard. As the Rejection Order noted, standard interconnection
         procedures and a standard agreement serve to limit opportunities for transmission
         providers to favor their own generation.74 As the Rejection Order also noted, and
         Susquehanna acknowledges, “use of pro forma documents ensures that Interconnection
         Customers . . . are receiving non-discriminatory service and that all Interconnection
         Customers are treated on a consistent and fair basis.”75 The Rejection Order is consistent
         with the intent of the necessary standard because the Commission focused on ensuring
         PJM demonstrated that the Susquehanna interconnection raised specific reliability
         concerns, novel legal issues, or other unique factors that justified the non-conforming
         provisions for Susquehanna’s use as the interconnection customer, as opposed to PJM
         relying on generally applicable terms for Susquehanna through a non-conforming



               72
                   PJM Interconnection, L.L.C., 111 FERC ¶ 61,098, at P 8 (2005) (emphasis
         added) (citing Order No. 2003-B, 109 FERC ¶ 61,287 at P 140). We note that, over the
         years, the Commission has repeatedly stated that the party seeking a “case-specific
         deviation” from the pro forma interconnection agreement bears the burden to justify its
         proposed change. Repeated use of this phrase “case-specific deviation” underscores the
         duty of the applicant to explain what about the circumstances of the specific
         interconnection is specific or unique that justifies a non-conforming provision.
               73
                  PG&E, 128 FERC ¶ 61,175 at P 16 (“Here, the Commission finds the fact that
         PG&E is both the Transmission Provider and Interconnection Customer to be a unique
         circumstance that necessitates a non-conforming agreement.”).
               74
                  Rejection Order, 189 FERC ¶ 61,078 at P 2 (citing Order No. 2003, 104 FERC
         ¶ 61,103 at P 12).
               75
                    Id. P 2 n.4 (quoting PJM Interconnection, L.L.C., 111 FERC ¶ 61,163, at P 9).
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         agreement.76 Contrary to Susquehanna’s assertions,77 the Commission’s holding does not
         suggest that non-conforming provisions would never be necessary for co-location
         arrangements.

                  We disagree with Susquehanna that the orders cited in the Rejection Order in
         support of the Commission’s determination instead support accepting the Amended
         ISA.78 The Rejection Order explained that reliance on a generally applicable document,
         the PJM Guidance Document, raised the question of whether PJM intended to offer
         certain terms to all similarly situated interconnection customers.79 The Commission’s
         point is similar to the discussion in those cited orders, wherein the Commission found
         that where certain proposed non-conforming provisions provide benefits, the benefits
         “should be made available through a pro forma agreement to ensure that all similarly-
         situated interconnection customers are treated on a consistent and fair basis.”80
         Susquehanna argues that the Commission did not reject the agreements at issue in SPP
         and MidAmerican and claims that “[i]t would have likewise been reasonable here for the
         Commission to approve [the Amended ISA] with only the non-conforming provisions it
         accepted as necessary after conducting a reasoned analysis of each non-conforming
         provision as required by the APA.”81 With this argument, Susquehanna suggests that the
         Commission should have reviewed each non-conforming provision to pick and choose
         what provisions it would or would not accept. We disagree. Having found significant
         aspects of the Amended ISA failed to meet the necessary standard,82 the Commission’s
         rejection of the Amended ISA was not only appropriate but required.83 To the extent

               76
                    Id. P 87.
               77
                    See Rehearing Request at 19.
               78
                  See Rejection Order, 189 FERC ¶ 61,078 at P 87 n.237 (citing El Paso Elec.
         Co., 180 FERC ¶ 61,127 at 20; SPP, 128 FERC ¶ 61,191 at P 21; MidAmerican,
         116 FERC ¶ 61,018 at P 12; PJM Interconnection, 188 FERC ¶ 61,206 at P 41).
               79
                    Id. P 87.
               80
                Sw. Power Pool Inc., 128 FERC ¶ 61,191, at P 21 (2009); see MidAmerican,
         116 FERC ¶ 61,018 at P 14.
               81
                    Rehearing Request at 20.
               82
                  Rejection Order, 189 FERC ¶ 61,078 at P 87 (“However, significant aspects of
         the proposed non-conforming provisions rely heavily on a generally applicable
         document.”).
               83
                 See NRG Power Mktg, LLC v. FERC, 862 F.3d 108, 114-15 (D.C. Cir. 2017)
         (NRG) (Commission may not modify FPA section 205 proposal such that it results in
                Case:
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         Susquehanna argues that SPP and MidAmerican support accepting the Amended ISA
         with significant modifications, both of those orders issued before NRG.

                 Susquehanna also argues that Commission precedent such as El Paso Electric
         Company instead compels us to accept the Amended ISA as the first instance where the
         Commission was requested to review non-conforming language that may become more
         broadly applicable. We disagree. We recognize that, in El Paso Electric Company, the
         Commission accepted non-conforming provisions in an interconnection agreement that
         the filing party acknowledged were being uniformly imposed on all inverter-based non-
         synchronous generation interconnections on its system.84 Several months later, the
         Commission began rejecting similar filings, explaining that, “it is now evident, and we
         find, that these non-conforming provisions are not needed” for the interconnection at
         issue, but that the provisions “broadly apply to non-synchronous generators
         interconnecting to [El Paso’s] system.”85 The Commission’s ultimate rejection of the
         non-conforming terms in El Paso Electric Company does not require the Commission
         henceforth to accept filings of non-conforming agreements unless and until the filing
         party “has established a pattern of filing [interconnection agreements] with similar non-
         conforming provisions without regard to the case-specific characteristics of the
         interconnection.”86 Creating a requirement that the Commission wait for a pattern to
         emerge before rejecting a non-conforming provision, as Susquehanna requests, would
         meaningfully weaken the necessary standard and meaningfully increase the possibility for
         disparate treatment that the necessary standard is designed to diminish.87 For this reason,


         entirely new rate scheme); see also El Paso Electric Co., 177 FERC ¶ 61,206 (2021),
         order on reh’g, 178 FERC ¶ 61,178, at P 8 (2022) (concluding that “it was unnecessary
         to determine the cost allocation and financial security issues in the [prior order] because
         the Commission rejected the [interconnection agreement] in that order on other grounds,”
         specifically, because the filer failed to meet its burden to justify its proposed non-
         conforming provisions as necessary, and setting aside findings in prior order on cost
         allocation and financial security requirements).
                84
                     175 FERC ¶ 61,199, at PP 11, 13 (2021).
                85
                     El Paso Elec. Co., 177 FERC ¶ 61,212 at P 26.
                86
                     Id.
                87
                  We also note that Susquehanna provides no support for the proposition that, in
         New York Independent System Operator, the Commission “knew that additional merchant
         transmission facilities were going to be constructed and have a similar interest in the
         non-conforming provisions being proposed in that particular case,” but the Commission
         accepted the agreements nonetheless. Request for Rehearing at 17 (citing N.Y. Indep.
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         we also find unpersuasive Susquehanna’s reliance on the Commission order on PJM
         Interconnection88 as support for accepting as necessary the non-conforming provisions of
         the Amended ISA and later finding that similar non-conforming provisions are no longer
         necessary.89 On the record before us, as discussed further below, we continue to find that
         PJM did not carry its burden to demonstrate the need for the non-conforming provisions
         in the Amended ISA that mirror provisions in the PJM Guidance Document.

                 Susquehanna next alleges that the Commission is conclusory in its analysis of the
         non-conforming provisions of the Amended ISA that mirror provisions of the PJM
         Guidance Document. Susquehanna maintains that, beyond the finding that some
         proposed provisions mirror provisions in the PJM Guidance Document, the Commission
         does not address whether these provisions are still necessary based on ample record
         evidence. We disagree. As a preliminary matter, we find no error in the Rejection
         Order’s reference to the PJM Guidance Document as part of its decision to reject the
         Amended ISA. Exelon and AEP discussed the PJM Guidance Document at length in
         their protests,90 and PJM responded to the protest arguments regarding the Guidance
         Document in its answer.91 The burden is on PJM to show that non-conforming
         provisions are necessary, and PJM failed to carry that burden for the reasons stated herein
         and in the Rejection Order.92 Susquehanna does not point to sufficient evidence that

         Sys. Operator, Inc., 180 FERC ¶ 61,105 at P 10; N.Y. Indep. Sys. Operator, Inc.,
         184 FERC ¶ 61,001 at P 8).
                88
                     See supra P 12.
                89
                  PJM Interconnection, 188 FERC ¶ 61,206 at P 42 (noting the filing parties’
         argument that the Commission had accepted similar non-conforming terms by delegated
         authority and explaining that “[t]he increasing frequency with which facts like those
         presented here are before the Commission in the specific context of PJM Designated
         Entity Agreements, however, illustrates that, to the extent that those criteria previously
         were satisfied (e.g., a filing presented a unique factor), that is no longer the case”).
                90
                  See Exelon and AEP June 24, 2024 Protest at 19-21 (“[T]he [Amended ISA]
         appears to rely heavily on this guidance document that was never presented to [the
         Commission] for consideration and is not part of the rate on file.”).
                91
                  PJM Answer at 3 (“[The Amended ISA] also advances additional terms and
         conditions (many of which the Protest acknowledges were raised in the stakeholder
         process) that further support PJM’s (and the other parties’) reliability interests.”) (citing
         Exelon and AEP June 24, 2024 Protest at 20-21); id. at 3 n.10 (recognizing Exelon and
         AEP’s discussion of the PJM Guidance Document).
                92
                 Order No. 2003-B, 109 FERC ¶ 61,287 at P 140 (“We clarify here that each
         Transmission Provider submitting a non-conforming agreement for Commission approval
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         would support setting aside the Commission’s finding in the Rejection Order that PJM
         failed to carry its burden to justify due to specific reliability concerns, novel legal issues,
         or other unique factors the non-conforming provisions that rely on the PJM Guidance
         Document, specifically the non-conforming provisions in Schedule F, Part C.2, Part D.2,
         Part D.3, Part F.1, Part F.4, and Part F.5 in the Amended ISA.93 For example, PJM’s
         transmittal contains conclusory assertions that the non-conforming provisions in Part C.2,
         Part D, and Part F are necessary.94 PJM’s Deficiency Response admits that the non-
         conforming provisions in Part F.1 and Part F.5 are not necessary to provide clarity for
         Susquehanna’s interconnection, but only necessary for other market participants.95


         must explain its justification for each nonconforming provision . . . .”); see, e.g., PJM
         Interconnection, 188 FERC ¶ 61,206 at P 41 (“We find that PJM, MAIT, and Mon Power
         have not satisfied their burden to show that the non-standard terms and conditions in the
         executed Designated Entity Agreements are just and reasonable and necessary deviations
         from the pro forma Designated Entity Agreement.”).
                93
                 See Request for Rehearing at 14 nn.48-52 (claiming sufficient evidence is in the
         Transmittal at 4-15, the Deficiency Response at 7-24 and the Susquehanna Deficiency
         Response Comments at 11-13).
                94
                   Transmittal at 7-8 (“These provisions [in Part C.2] again clarify Susquehanna’s
         rights and obligations, communication expectations, and reaffirm obligations regarding
         Generation Capacity Resource activity in the PJM Region.”); id. at 8 (“A new Part D,
         Provisions Relating to Operations, has been added to clarify roles and responsibilities
         regarding coordination, authorization, and communication by and among PJM, the
         Interconnected Transmission Owner (PPL EU), and the Interconnection Customer
         (Susquehanna) in support of reliable system operations.”); id. at 9 (“This new section 3
         [in Part D] codifies limitations on the use of such back-up generating units in furtherance
         of important reliable system operations interests, particularly when conditions exist that,
         in PJM’s sole discretion, may threaten the integrity or reliability of the PJM Region or the
         regional power system.”); id. at 11 (“As with other amendments, these provisions [in Part
         F] clarify the rights and obligations of the Parties under the [Amended ISA].”).
                95
                   PJM Deficiency Response at 17 (“This section [Part F.1] clarifies a relatively
         obvious but necessary point to avoid any confusion with existing law and practice
         relating to station power by expressly stating that Co-Located Load is not the equivalent
         to Station Power load. Although Susquehanna has not been confused by this concept,
         other market participants have claimed to be – hence, PJM felt this clarifying revision
         was necessary to promote compliance and to establish clear expectations.”) (emphasis
         added); id. at 20-21 (“This provision [Part F.5] provides clarity as to Susquehanna’s
         obligation to adhere to the Modification of Facilities provisions of the [Amended ISA]
         (which is already included in the pro forma ISA) in the event it intends to pursue any
         additional planned modifications beyond the total co-located load addition of 960 MW.
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         PJM’s Deficiency Response also asserts that the provision in Part F.4 that Co-Located
         Load is not Network Load is a statement of fact, but PJM fails to explain why this
         statement is necessary.96 Susquehanna’s comments supporting PJM’s Deficiency
         Response likewise contain conclusory assertions.97

                We make one additional point with respect to Susquehanna’s arguments about the
         evidence in the record. We recognize, for example, that PJM’s Deficiency Response
         could be construed to address the need for non-conforming provisions about back-up
         service through statements such as: “[n]ot all interconnections have multiple units,”
         “[n]ot all interconnections pursuing co-located load may explore the potential for back-up
         service,” and, since this interconnection involves such service, provisions governing
         back-up service are necessary.98 But as the Rejection Order explained, “[to state] that
         provisions of the PJM Guidance Document may not apply to every co-location agreement
         does not mean that the provisions are not generally applicable.”99 We remain concerned
         that PJM also did not justify these non-conforming provisions through the Amended ISA
         when the record indicates that these provisions rely heavily on a generally applicable




         This provision is necessary because some entities interconnected under PJM’s
         interconnection procedures (not Susquehanna) have taken the position that they are free
         to add co-located load without notification to PJM and an Interconnected Transmission
         Owner, and without the requisite study process being followed. To be clear,
         Susquehanna is not in that category.”) (emphasis added).
               96
                  PJM Deficiency Response at 19-20; see id. at 20 (asserting that the Amended
         ISA is not resolving multiple questions).
               97
                   Susquehanna September 24, 2024 Comments at 12-13 (“Unique issues resulting
         in variations contained in Schedule F include the treatment of “Co-Located Load” (as
         defined in the [Amended ISA]) with respect to existing terminology such as “Station
         Power load” and “Network Load,” rights and obligations with respect to Capacity
         Interconnection Rights, and PJM access to and communications with the co-located load
         operator.”); id. at 13 (“Certain of the proposed variations are necessary for numerous
         reasons that further evidence the unique nature of this co-located load design. For
         example, the language in Schedule F, pts. C.1, C.2, F.4, and G.1 resolve circumstances
         not addressed by the pro forma ISA as well as reliability concerns and other unique
         factors (as explained in PJM’s [Deficiency] Response).”).
               98
                    PJM Deficiency Response at 12.
               99
                    Rejection Order, 189 FERC ¶ 61,078 at P 89.
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         document, namely, the PJM Guidance Document, which has not been approved by the
         Commission.100

                 We conclude by rejecting several of Susquehanna’s subsidiary arguments. First,
         we find unpersuasive Susquehanna’s claim that the Rejection Order suggests that the
         outcome may have been influenced by concerns about whether the Co-Located Load pays
         for any services it may use. The Rejection Order narrowly concluded that PJM had not
         justified certain non-conforming provisions as necessary due to their reliance on the PJM
         Guidance Document but did not opine further on those provisions.101 Second,
         Susquehanna argues that a fatal flaw of the Rejection Order is its failure to address PJM’s
         necessary study process. We disagree. PJM’s necessary study process is not relevant to
         the Commission’s finding that PJM did not carry its burden to show that the non-
         conforming provisions at issue were necessary, and the Commission appropriately
         omitted discussion of PJM’s process. Finally, as to Susquehanna’s argument that the
         Rejection Order poses economic and national security risks because of its impact on co-
         located load arrangements, we find these arguments beyond the scope of our inquiry as to
         whether PJM has justified the non-conforming provisions of the Amended ISA as
         necessary.

                 In response to Vistra’s motion and request for the Commission to identify and
         explain its concerns with the specific non-conforming provisions in the Amended ISA,
         those concerns are detailed in the Rejection Order and above.102 Vistra also asks the
         Commission to clarify that the necessary standard “serves only to help identify which
         of the two available procedural paths, executing a pro forma or filing a non-conforming
         agreement, is appropriate for a particular interconnection agreement.” We do not make
         this clarification exactly as requested. Consistent with the discussion of the necessary
         standard above,103 and in the Rejection Order,104 we clarify that the Commission uses
         the necessary standard—as it did in reaching its conclusion in the Rejection Order—to
         determine whether the filing of a non-conforming agreement is justified.105 In addition,

                100
                      Id. P 87 n.236.
                101
                      Id. PP 87-88.
                102
                      See supra PP 27-28; see, e.g., Rejection Order, 189 FERC ¶ 61,078 at PP 87-
         89.
                103
                      See supra P 3.
                104
                      Rejection Order, 189 FERC ¶ 61,078 at P 86.
                105
                   See supra P 3 (“[A] transmission provider seeking a case-specific deviation
         from its pro forma interconnection agreement bears a high burden to justify and explain
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         we clarify that the Rejection Order does not prevent entities from filing non-conforming
         interconnection agreements to address matters related to a generator serving co-located
         load, or prejudge any such future filing. The Rejection Order only finds that, based on
         the record in this proceeding, PJM did not carry its burden to demonstrate that its
         proposed non-conforming provisions in the Amended ISA are necessary.106

         The Commission orders:

               (A) In response to the request for rehearing, the Rejection Order is hereby
         modified and the result sustained, as discussed in the body of the order.

                (B)    The motion for clarification is hereby granted in part.

         By the Commission. Commissioner Phillips is dissenting with a separate statement
                            attached.
                            Commissioner Rosner is not participating.
                            Commissioner Chang is not participating.

         (SEAL)




                                                       Debbie-Anne A. Reese,
                                                             Secretary.



         that its changes are not merely ‘consistent with or superior to’ the pro forma agreement,
         but are necessary changes.”).
                106
                    While we sustain the result of the Rejection Order herein, and as respectfully
         noted by the dissent, since the issuance of the Rejection Order the Commission has
         initiated an FPA section 206 show cause proceeding to determine whether PJM’s tariff
         remains just and reasonable, and not unduly discriminatory or preferential, without
         provisions addressing with sufficient clarity or consistency the rates, terms, and
         conditions of service that apply to co-location arrangements, including interconnection
         service for specific co-location arrangements. PJM Interconnection, L.L.C., 190 FERC
         ¶ 61,115, at PP 2, 79 (2025). We reiterate what was said at the Commission’s February
         2025 Open Meeting when we voted to issue the order instituting that show cause
         proceeding: We fully intend to act as expeditiously as possible to address those issues,
         as we know how important it is to investors, utilities, and all interested parties to have
         regulatory certainty.
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                                 UNITED STATES OF AMERICA
                          FEDERAL ENERGY REGULATORY COMMISSION

         PJM Interconnection, L.L.C.                                 Docket No.    ER24-2172-002


                                           (Issued April 10, 2025)

         PHILLIPS, Commissioner, dissenting:

                For the reasons set forth in my dissent1 to the original order issued November 1,
         2024, I also respectfully dissent from today’s order.
                Notwithstanding my disagreement with these orders’ rationale and determination,
         I remain hopeful that the Commission’s recently issued order (directing PJM to show
         cause why its tariff remains just and reasonable and not unduly discriminatory or
         preferential given the absence of provisions addressing generally applicable rates, terms
         and conditions of service that apply to co-location arrangements, PJM Interconnection,
         L.L.C., 190 FERC ¶ 61,115 (2025)), will soon result in solutions to address what I regard
         as unnecessary roadblocks to the continued maturing of an industry that is vital to our
         economic prosperity and national security.
                For these reasons, I respectfully dissent.



                Willie Phillips
                Commissioner




                1
                  PJM Interconnection, L.L.C., 189 FERC ¶ 61,078 (2024) (Phillips, Chairman,
         dissenting).
